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     __________________________________

                           Matthew Karnowski
                           December 17, 2018
     __________________________________

                         Maleeha Ahmad, et al.
                                        vs.


                      City of St. Louis, Missouri




                                                          Exhibit R
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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION



          MALEEHA AHMAD, ET AL.,           )
                                           )
                      Plaintiffs,          )
                                           )
                      vs.                  ) No. 4:17-cv-2455-CDP
                                           )
          CITY OF ST. LOUIS,               )
          MISSOURI,                        )
                                           )
                      Defendant.           )




                       DEPOSITION OF MATTHEW KARNOWSKI
                      TAKEN ON BEHALF OF THE PLAINTIFFS
                              DECEMBER 17, 2018




                      Stacey L. Preusser, IL-CSR, MO-CCR
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     7             (Exhibit was retained by the reporter.)

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     1              IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
     2                        EASTERN DIVISION

     3

     4    MALEEHA AHMAD, ET AL.,          )
                                          )
     5                Plaintiffs,         )
                                          )
     6                vs.                 )   No. 4:17-cv-2455-CDP
                                          )
     7    CITY OF ST. LOUIS,              )
          MISSOURI,                       )
     8                                    )
                      Defendant.          )
     9
                    DEPOSITION OF MATTHEW KARNOWSKI, produced,
    10    sworn, and examined on behalf of Plaintiffs, DECEMBER
          17, 2018, between the hours of 9:02 in the forenoon
    11    and 12:25 in the afternoon of that day, at City of St.
          Louis, City Hall, 1200 Market Street, St. Louis,
    12    Missouri, before Stacey L. Preusser, MO-CCR, IL-CSR.

    13                       A P P E A R A N C E S

    14               The Plaintiff, Maleeha Ahmad, et al.,
          represented by Jessie Steffan of American Civil
    15    Liberties Union of Missouri, 906 Olive Street Suite
          1130, St. Louis, MO 63101
    16

    17               The Defendant, City of St. Louis, Missouri,
          represented by Abby Duncan of City Counselor's Office,
    18    1200 Market Street Room 314, St. Louis, MO 63103

    19

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     1                IT IS HEREBY STIPULATED AND AGREED by and

     2    between counsel for the Plaintiffs and counsel for the

     3    Defendant, that this deposition may be taken in

     4    shorthand by Stacey L. Preusser, a Certified Shorthand

     5    Reporter and Certified Court Reporter, and afterwards

     6    transcribed into typewriting, and the signature of the

     7    witness is reserved by agreement of counsel and the

     8    witness.

     9

    10                                 0-0-0

    11                          MATTHEW KARNOWSKI,

    12    of lawful age, being produced, sworn and examined on

    13    the part of the Plaintiffs, and after responding "Yes,

    14    I do" to the oath administered by the court reporter,

    15    deposes and says:

    16

    17                      * * * * * * * * * * * *

    18                            [EXAMINATION]

    19          BY MS. STEFFAN:

    20          Q.    Sergeant, if you could state and spell your

    21    name for the record.

    22          A.    Sure.    My name is Matthew Karnowski,
    23    M-A-T-T-H-E-W.      My last name is spelled
    24    K-A-R-N-O-W-S-K-I.
    25          Q.    And I just introduced myself, but I'm Jessie



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     1    Steffan.     I'm one of the plaintiffs' attorneys in this

     2    case, which is Ahmad versus the City of St. Louis.               I

     3    assume you've been deposed before; is that correct?

     4          A.     I have.
     5          Q.     I'll just go over a few quick things.          If

     6    you could please try to answer verbally so that the

     7    Court Reporter can take a record --

     8          A.     Sure.
     9          Q.     -- that would be great.       I'm going to try

    10    not to talk over you if you would try not to talk over

    11    me.   If you don't understand a question, please say

    12    so; otherwise I will presume that you understood the

    13    question I asked.      Is that okay with you?

    14          A.     Yes.
    15          Q.    And we can take a break at any time.          Just

    16    if there's a question hanging out in the air, I would

    17    ask that you answer that question before we take a

    18    break.     Is that okay?

    19          A.     Yes.
    20          Q.    Have you taken any medication, drugs or

    21    alcohol that could affect your ability to testify

    22    truthfully or to remember things this morning?

    23          A.     No.
    24          Q.    Do you have any health conditions that

    25    affect your ability to testify truthfully or to



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     1    remember things?

     2          A.     No.
     3          Q.     What did you do to prepare for today's

     4    deposition?

     5          A.     Can you be specific?
     6          Q.     Did you talk with anyone in preparation for

     7    today's deposition?

     8          A.     I consulted with my counsel.
     9          Q.     Other than your attorney, did you talk to

    10    anyone?

    11          A.     I consulted with some folks in our legal
    12    division.
    13          Q.    Other than your legal counsel or anyone

    14    working for your legal counsel, did you talk to

    15    anyone?

    16          A.     No.
    17          Q.    Did you review any documents?

    18          A.     I did.
    19          Q.    Other than documents given to you by your

    20    legal counsel, did you prepare any documents?            I'm

    21    sorry.     Review any documents?

    22          A.     No.   Actually, no.
    23          Q.    Did you review any other media, audio or

    24    video?

    25          A.     I have -- not in direct preparation for this



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                                                                         Page 7


     1    deposition.
     2          Q.    When you say "not in direct preparation,"

     3    what do you mean by that?

     4          A.    I guess what time frame are you talking
     5    about in terms of reviewing audio or video?
     6          Q.    Have you reviewed any audio, video from any

     7    time frame in preparation for this deposition?

     8          A.    Not in direct preparation for this
     9    deposition.
    10          Q.    Indirect preparation, is that what you're

    11    saying?

    12          A.    I've reviewed video that I had in the past
    13    but not in preparation for this.
    14          Q.    For some other purpose?

    15          A.    Just to recollect my memory in terms of
    16    events, video that I recorded.
    17          Q.    Okay.    Events relevant to this case?

    18          A.    To -- yes.
    19          Q.    Okay.    What video did you review?

    20          A.    Video that I recorded.
    21          Q.    When did you record that video?

    22          A.    Which video?
    23          Q.    Thinking about the videos that you recorded

    24    and that you reviewed, when were those videos taken?

    25          A.    You've got to be more specific.         Are you



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     1    referring to any videos relating to the Stockley
     2    protest?
     3          Q.    Yes.

     4          A.    They were recorded during my activities
     5    during the Stockley protest.
     6          Q.    So September of 2017, is that what we're

     7    talking about?

     8          A.    Correct.
     9          Q.    Okay.    You reviewed videos that you had

    10    taken during the Stockley protest sometime thereafter;

    11    is that what you're saying?

    12          A.    Yes.
    13          Q.    When did you review those videos?

    14          A.    Shortly after the protest.
    15          Q.    Okay.    When is the last time you looked at a

    16    video from the protest?

    17          A.    I can't give you a date specifically, but
    18    it's been many, many months.
    19          Q.    Okay.    I understand.     Did you send any

    20    e-mails or text messages related to today's

    21    deposition?

    22          A.    No.     Well, I sent e-mail to counsel.
    23          Q.    Except for your attorney?

    24          A.    No.
    25          Q.    I'm not trying to get you to tell me



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      1   anything about what you talked with your attorney

      2   about.

      3                Did you do anything other than review videos

      4   or audio in preparation for today's deposition?

      5          A.    Well, I had actually -- just to be clear, I
      6   didn't review videos and audio in preparation for
      7   today's --
      8          Q.    You just did so after --

      9          A.    I did so shortly after the protest.          But as
    10    I mentioned earlier, I did review some documents that
    11    were sent to me by counsel.
    12           Q.    Anything that you did not receive from

    13    counsel?

    14           A.    No.
    15           Q.    Okay.   Where do you live, Sergeant?

    16           A.    In the city of St. Louis.
    17           Q.    Who do you live with?

    18                 MS. DUNCAN:    I'm going to object as

    19    irrelevant to this case.

    20                 MS. STEFFAN:     Are you instructing him not to

    21    answer?

    22                 MS. DUNCAN:    Yeah.

    23           Q.     (By Ms. Steffan) How old are you?

    24           A.    39.
    25           Q.    Did you graduate from high school?



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      1          A.    No.
      2          Q.    Did you attend high school?

      3          A.    Yes.
      4          Q.    When did you leave high school?

      5          A.    1997.
      6          Q.    Where did you go to high school?

      7          A.    Central Visual and Performing Arts.
      8          Q.    Was that in St. Louis?

      9          A.    Uh-huh.
    10           Q.    What's the highest grade that you completed

    11    there?

    12           A.    In high school?
    13           Q.    Uh-huh.

    14           A.    11th.
    15           Q.    Do you have a GED?

    16           A.    Yes.
    17           Q.    When did you get your GED about?

    18           A.    '98.
    19           Q.    Did you graduate from a police academy?

    20           A.    I did.
    21           Q.    What police academy did you graduate from?

    22           A.    St. Louis Metropolitan Police Academy.
    23           Q.    When did you graduate?

    24           A.    In 2000 -- I guess very early 2006.
    25           Q.    Have you attended any college classes?



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      1          A.    I have.
      2          Q.    Where did you attend college?

      3          A.    Lindenwood University.
      4          Q.    Did you receive a degree from Lindenwood?

      5          A.    I did.
      6          Q.    What degree did you receive?

      7          A.    Bachelor's in Criminal Justice Science.
      8          Q.    When did you receive your Bachelor's Degree?

      9          A.    About two years ago.
    10           Q.    Have you attended any other colleges besides

    11    Lindenwood?

    12           A.    I've attended Forest Park Community College.
    13    I'm sorry.     St. Louis Community College.         Be a little
    14    bit more broad.
    15           Q.    You didn't obtain a degree from St. Louis

    16    Community College?

    17           A.    No.
    18           Q.    What classes did you take there?

    19           A.    I took an EMT class years ago and then also
    20    a couple science classes online more recently in order
    21    to meet the requirements from the degree from
    22    Lindenwood.
    23           Q.    Have you attended any graduate school?

    24           A.    No.
    25           Q.    Have you served in any branch of the



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      1   military?

      2          A.    No.
      3          Q.    Did you ever begin the recruitment process

      4   for a branch of the military?

      5          A.    No.
      6          Q.    Do you have any medical training?

      7          A.    Yes.
      8          Q.    You just mentioned the EMT class.

      9          A.    Uh-huh.
    10           Q.    Any medical training besides that?

    11           A.    Up until a couple months ago, I was a
    12    licensed paramedic.
    13           Q.    What does that entail?

    14           A.    Can you be more specific?
    15           Q.    What do you have to do to become a licensed

    16    paramedic?

    17           A.    Go to paramedic school.
    18           Q.    Okay.   What is paramedic school?

    19           A.    It's a school where one goes to learn how to
    20    be a paramedic.
    21           Q.    What do you have to do to be a paramedic?

    22           A.    Take a variety of courses of instruction.
    23           Q.    On what?

    24           A.    Anatomy and physiology, medication,
    25    pharmacology, different medical classes.



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      1          Q.    All in all, how much school is that?

      2          A.    I think it's about two years.
      3          Q.    Did you go full-time?

      4          A.    No.
      5          Q.    When did you first become a licensed

      6   paramedic?

      7          A.    Gosh, about 2002, maybe 2003.
      8          Q.    You said you were a licensed paramedic until

      9   recently; is that correct?

    10           A.    Correct.
    11           Q.    When did you stop being a licensed

    12    paramedic?

    13           A.    My license expired in October.
    14           Q.    If I understand correctly, becoming a

    15    licensed paramedic is more intense than just being an

    16    EMT; is that correct?

    17           A.    Correct.
    18           Q.    Okay.   Other than taking the EMT class and

    19    becoming a licensed paramedic, do you have any other

    20    medical training?

    21           A.    No.
    22           Q.    Do you have any correctional training?

    23           A.    No.
    24           Q.    Do you have a driver's license?

    25           A.    I do.



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      1          Q.    Do you have any specialized driving

      2   training?

      3          A.    Through the police department I do.
      4          Q.    What kind?

      5          A.    Training to be -- we are taught some
      6   training in the police academy, and then we had some
      7   ancillary training, gosh, 10 years ago.
      8          Q.    On how to drive particular kinds of

      9   vehicles?

    10           A.    How to drive in emergency situations.
    11           Q.    Do you have bicycle training?

    12           A.    I do.
    13           Q.    What kind of bicycle training do you have?

    14           A.    A variety of bicycle training.         I am a
    15    instructor/trainer at the International Police
    16    Mountain Bike Association.
    17           Q.    When did you first take on that role?

    18           A.    Gosh, three years ago.
    19           Q.    What does that entail?

    20           A.    That allows me to train other bicycle
    21    instructors.
    22           Q.    Train the trainers kind of a thing?

    23           A.    Correct.
    24           Q.    What do you train people to do?

    25           A.    Can you be more specific?



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      1          Q.    When you're training other bike instructors,

      2   what are you trying to teach them?

      3          A.    Mainly it's training them to become
      4   competent instructors and essentially weeding out
      5   those who aren't capable of instructing other
      6   instructors.
      7          Q.    So you're making assessments about their

      8   capability to train others; is that correct?

      9          A.    Correct.
    10           Q.    And if you think about what the instructors

    11    that you're training are trying to pass on to people

    12    who are learning about bikes, what are they trying to

    13    train people?

    14           A.    So for the basic police course.         I'm also an
    15    instructor in the basic police course since that's a
    16    building block essentially to becoming an
    17    instructor/trainer.       And the question was what type of
    18    skills are we teaching folks?
    19           Q.    Yes.

    20           A.    There's a little bit of classroom
    21    instruction in terms of nutrition, physical exercise,
    22    vehicular traffic, riding as a vehicle, things to look
    23    out for in terms of obstructions or roadway hazards.
    24    And there's a lot of on-bike exercises.
    25           Q.    Any other certifications related to bike



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      1   training or licenses relating to bike training?

      2           A.   No.
      3           Q.   Do you have any other certifications or

      4   licenses relevant to your police work?

      5           A.   Not that come to mind immediately.
      6           Q.   You do in-service training every year; is

      7   that right?

      8           A.   What kind of training?
      9           Q.   With the police academy.

    10            A.   I do some in-service training.         I'm also --
    11    and I forgot to mention that I'm also a Narcan
    12    instructor, so I have taught quite a few classes in
    13    terms of Narcan administration.
    14           Q.    You said that the basic police unit is a

    15    building block to becoming an instructor/trainer --

    16            A.   Yes.
    17           Q.    -- for bikes?     When did you first do that

    18    unit?

    19            A.   When I became a basic police cyclist
    20    instructor, in 2010.
    21           Q.    Have you ever been convicted of a crime?

    22            A.   No.
    23           Q.    How about an infraction or an ordinance

    24    violation?

    25            A.   Maybe a traffic ticket when I was a



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      1   teenager, but it's been -- I couldn't give you any
      2   specifics on it.
      3          Q.    Other than traffic?

      4          A.    No.
      5          Q.    Have you ever been prosecuted for a crime?

      6          A.    No.
      7          Q.    Have you ever been arrested?

      8          A.    Like for a traffic -- again, a traffic
      9   ticket back when I was a teenager, late teens.
    10           Q.    Other than for a traffic violation, have you

    11    ever been arrested?

    12           A.    No.
    13           Q.    Okay.   I'm going to ask you some questions

    14    about your employment history.         When did you start at

    15    the St. Louis Metropolitan Police Department?

    16           A.    I started the police academy in Juneish of
    17    2005.
    18           Q.    If you could just describe what you did

    19    after that.

    20           A.    After I started with the police department?
    21    I went to the police academy for approximately six and
    22    a half months.
    23           Q.    I can ask you about each role that you had

    24    after that, or you can just tell me, "I did this and

    25    this from this date to this date," however you want to



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      1   do it.

      2          A.    So after I graduated the police academy, I
      3   was assigned to the 9th District as a police officer,
      4   a probationary police officer.         I was later promoted
      5   to -- after which I was promoted to the rank of police
      6   officer.
      7                After about two and a half years, I was
      8   transferred to our anticrime division as a detective.
      9   I spent about seven years in anticrime, after which I
    10    was promoted to the rank of sergeant.           And then I was
    11    transferred to the 5th District.
    12                 After about two years in the 5th District, I
    13    was detached to the 4th District to the downtown
    14    bicycle unit.        And I'm currently serving as a sergeant
    15    on a line platoon in the 4th District.           And that's
    16    where we're at now.
    17           Q.    Okay.    When you say you were detached to the

    18    4th District, what does that mean?

    19           A.    A detachment is when -- so there's two
    20    mechanisms by which people move around the police
    21    department.     One of them is a transfer, and one of
    22    them is a detachment.       So it's essentially semantics,
    23    but I was still assigned to the 5th District but
    24    detached to the 4th.
    25           Q.    Okay.    It is sort of more temporary than a



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      1   transfer?

      2          A.    It could be, yes.
      3          Q.    Okay.   At the time of the events in this

      4   case of September 2017, what was your assignment?

      5          A.    I was detached to the bicycle unit.
      6          Q.    You were a sergeant at that time; is that

      7   correct?

      8          A.    Correct.
      9          Q.    But to be technical, you were still part of

    10    the 5th District; is that right?

    11           A.    Right now?
    12           Q.    At the time of the events in this case.

    13           A.    Correct.
    14           Q.    Okay.   You used the term "line platoon."

    15    What does that mean?

    16           A.    A line platoon is -- it's a set of beat
    17    police cars, and I supervise that line platoon or set
    18    of police cars.
    19           Q.    The Bike Unit is part of the 4th District

    20    patrol?

    21           A.    Correct.
    22           Q.    Did you work in a law enforcement capacity

    23    anywhere besides St. Louis Metropolitan Police

    24    Department?

    25           A.    No.



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      1          Q.    Why were you detached to the 4th District?

      2          A.    You'd have to ask the commanders that.
      3          Q.    Who detached you?

      4          A.    The chief of police.
      5          Q.    It's not something you applied for or sought

      6   out?

      7          A.    I -- not -- no.
      8          Q.    Remind me again when you were promoted to

      9   sergeant.

    10           A.    December of '14.
    11           Q.    Did you receive additional trainings along

    12    with your promotion?

    13           A.    Yes.
    14           Q.    What kind of training did you receive?

    15           A.    It's been four years now, but it was a two-
    16    or three-day course of training, and I couldn't
    17    remember -- it might have -- there's a little bit to
    18    do with diversity and then some administrative --
    19    administrative attributes they wanted to impart on the
    20    new promotees.
    21           Q.    How do the duties of the sergeant differ

    22    from the duties of the patrol officer?

    23           A.    In quite a number of ways.        Sergeants
    24    supervise, again, front -- in my case frontline police
    25    officers on the street.        I supervise their calls.        I



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      1   ensure that my officers are doing what they're
      2   supposed to do essentially.         I review reports, and I
      3   refer matters to the watch commander as necessary.
      4          Q.    How many officers do you supervise?

      5          A.    Right now?
      6          Q.    Right now.

      7          A.    Approximately eight.
      8          Q.    And at the time of the events in this case,

      9   so September of 2017, how many officers did you

    10    supervise?

    11           A.    I was -- it really kinda depended.         Things
    12    were very dynamic, so I didn't have any officers under
    13    my direct supervision during the events.            So I
    14    generally acted as a liaison between my lieutenant and
    15    the other sergeants who had squads.
    16           Q.    So other sergeants had groups of officers

    17    that they were in charge of; you coordinated between

    18    those sergeants and your commanding lieutenant; is

    19    that correct?

    20           A.    Correct.
    21           Q.    Who was your lieutenant at that point?

    22           A.    Scott Boyher.
    23           Q.    Is he also part of the Bike Unit?

    24           A.    Yes.
    25           Q.    Do you work anywhere else?



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      1          A.    Yes.
      2          Q.    Where else do you work?

      3          A.    I work for the City's Finest, LLC.
      4          Q.    What is that?

      5          A.    It's a security company that contracts with
      6   neighborhood and business taxing districts to provide
      7   supplemental police patrol.
      8          Q.    What capacity do you work in?

      9          A.    I'm the chief operations officer.
    10           Q.    What does that mean?

    11           A.    I am essentially second in charge of the
    12    company.
    13           Q.    How many hours do you work there per week?

    14           A.    It varies.    So anywhere from maybe five
    15    hours to 20.
    16           Q.    How many hours do you work a week as an

    17    officer?

    18           A.    As a sergeant, about 40.
    19           Q.    During the events in this case, were you

    20    ever working for the City's Finest?

    21           A.    I can't recall specifically.
    22           Q.    It's possible?

    23           A.    Yes.
    24           Q.    Does the City's Finest have video

    25    capability?



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      1          A.     You've got to be more specific.
      2          Q.     Do you use cameras there?

      3          A.     Yes.
      4          Q.     Okay.   Did you review any videos from the

      5   City's Finest that relate to the Stockley protest?

      6          A.     No.
      7          Q.     During a given shift, what takes up most of

      8   your time?

      9                 MS. DUNCAN:   Object as to vague.       Are you

    10    talking about his time with the City's Finest?

    11           Q.     (By Ms. Steffan) I'll rephrase.         I'm

    12    talking about in your capacity as a sergeant with St.

    13    Louis Metropolitan Police Department, during a given

    14    shift, what takes up most of your time?

    15           A.     It really depends on what day it is or
    16    what's going on.       It could either be supervising
    17    critical scenes, homicide scenes, or it could be
    18    administrative work, or it could be helping my
    19    officers on calls.       There's not one thing that takes
    20    up most time.
    21           Q.    You just mentioned three things, supervising

    22    scenes, doing administrative work, helping officers on

    23    calls.      Are there other things that are -- that take

    24    up a lot of your time while you're working?

    25           A.     Again, it just depends on what happens



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      1   throughout the course of the day.
      2          Q.    So maybe, is that what you're saying?

      3          A.    It's a really hard question to answer
      4   especially with how vague it is.
      5          Q.    Okay.   How do your shifts work?        Do you work

      6   9 to 5, or do you do 12-hour shifts?

      7          A.    I work -- the group of people I work with in
      8   the district and district sergeants typically work --
      9   I'm on a day, afternoon rotating schedule.            So for
    10    three weeks I work day watch, which is either 6:50 to
    11    1450 or 7:30 to 15 -- I'm sorry.          7:10 to 1510.     When
    12    we're on afternoons, we will work either 1450 to 2250
    13    or 1510 to 2310.
    14           Q.    So you do three weeks on day watch, three

    15    weeks on afternoon?

    16           A.    Correct.
    17           Q.    Do you work any overtime?

    18           A.    Not typically.     If I have to stay over, I
    19    will.
    20           Q.    You worked a lot of overtime during the

    21    events in this case; is that right?

    22           A.    Yes.
    23           Q.    That was unusual for you?

    24           A.    Yes.
    25           Q.    Have you received commendations during your



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      1   tenure with the police department?

      2          A.    Yes.
      3          Q.    What commendations have you received?

      4          A.    Received multiple chief's letters of
      5   commendation.
      6          Q.    If I understand the chief's letters

      7   correctly, that's basically saying you did a great job

      8   in this particular situation; is that right?

      9          A.    Correct.
    10           Q.    Did you receive any chief's letters related

    11    to your actions during the Stockley protest?

    12           A.    No.
    13           Q.    How about captain's letters?

    14           A.    No.
    15           Q.    I'm going to ask you some questions about

    16    your disciplinary history.         Have you ever been demoted

    17    while you've been with the police department?

    18                 MS. DUNCAN:    I'm going to object to any kind

    19    of disciplinary or personnel records as confidential.

    20    Subject to that, he can answer.          We just ask that it

    21    be subject to Protective Order.

    22                 MS. STEFFAN:     There's no Protective Order in

    23    this case right now.       Are you going to seek one?

    24                 MS. DUNCAN:    We may if it gets into like

    25    personal disciplinary history, things like that.



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      1          Q.     (By Ms. Steffan) Have you ever been demoted

      2   while you've been with the police department?

      3          A.    No.
      4          Q.    Have you ever been assigned to

      5   administrative duties?

      6          A.    Yes.
      7          Q.    When were you assigned to administrative

      8   duties?

      9          A.    Back in 2009.
    10           Q.    What was the cause of you being assigned to

    11    administrative duties?

    12           A.    I was involved in two separate critical
    13    incidents.
    14           Q.    What is a critical incident?

    15           A.    That is I guess abnormal or -- where I guess
    16    -- a critical incident.        An incident that is outside
    17    of what would be normal for police officers to
    18    experience.
    19           Q.    What were the two critical incidents?

    20           A.    They were two separate shootings.
    21           Q.    Are you saying they were officer-involved

    22    shootings?

    23           A.    Yes.
    24           Q.    So officers did the shooting; is that what

    25    you're saying?



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      1          A.    Correct.
      2          Q.    Were you the shooter in either case?

      3          A.    Yes.
      4          Q.    Both or just one?

      5          A.    Both.
      6          Q.    How long were you assigned to administrative

      7   duties?

      8          A.    Just the three days I think on each case.
      9          Q.    To your understanding, is that something

    10    that happens automatically?

    11           A.    Yes.
    12           Q.    Were both of the victims of the shooting

    13    suspects?

    14           A.    Yes.
    15           Q.    Were the incidents related to each other or

    16    separate?

    17           A.    Separate.
    18           Q.    Were the suspects on foot or in cars or

    19    somewhere else?

    20           A.    One was on foot, and one was in a vehicle.
    21           Q.    Other than after those two critical

    22    incidents, have you ever been assigned to

    23    administrative duties?

    24           A.    No.
    25           Q.    Have you ever been suspended with pay?



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      1          A.    No.
      2          Q.    Have you ever been suspended without pay?

      3          A.    Yes.
      4          Q.    When were you suspended without pay?

      5          A.    About two and a half years ago.         I can't
      6   give you the dates specifically.
      7          Q.    What was the cause of you being suspended

      8   without pay?

      9          A.    It was alleged that I violated the pursuit
    10    policy.
    11           Q.    When you say "the pursuit policy," that's an

    12    officer pursuing a fleeing suspect; is that right?

    13           A.    Correct.
    14           Q.    What were you alleged to have done?

    15           A.    I'm still not actually very clear on it.
    16    But it was alleged that -- there was a group of people
    17    who got on the highway the wrong way, I was not one of
    18    them, in pursuit of a suspect who committed a homicide
    19    in broad daylight in a packed neighborhood.
    20           Q.    You were not one of the people who got on

    21    the highway?

    22           A.    Correct.
    23           Q.    There were other officers who were?

    24           A.    Yes.
    25           Q.    And you were, to your mind, sort of



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      1   accidentally caught up with those officers?

      2          A.    I wouldn't say I was accidentally caught up
      3   because I was involved in the pursuit.
      4          Q.    Gotcha.    Okay.   You were involved in the

      5   pursuit, but you did not get on the highway going the

      6   wrong way?

      7          A.    Correct.
      8          Q.    How long were you suspended without pay?

      9          A.    Two days.
    10           Q.    Were you ultimately found not to have

    11    violated the pursuit?

    12           A.    I was found to have violated it.
    13           Q.    But you disagree with that?

    14           A.    Yes.   I think that's fair to say.
    15           Q.    Other than that occasion, have you ever been

    16    suspended without pay?

    17           A.    No.
    18           Q.    Have you ever been docked pay or benefits as

    19    a disciplinary matter?

    20           A.    No.
    21           Q.    Have you received a written reprimand?

    22           A.    No.
    23           Q.    How about a verbal reprimand?

    24           A.    No.
    25           Q.    Have you ever been told you needed to



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      1   receive counseling or retraining on a department

      2   policy?

      3          A.    No.
      4          Q.    Do you know if anyone has filed a civilian

      5   complaint against you?

      6          A.    There's been a variety -- there's been a
      7   variety of civil complaints leveled against me.
      8          Q.    Do you recall the circumstances of any of

      9   those complaints?

    10           A.    There was one I guess a few -- back when I
    11    was in the Bike Unit, but after the Stockley protest
    12    there was a gentleman who believed that I was unfair
    13    in issuing him a traffic ticket.          But his complaint
    14    was deemed to have no merit.         So no -- there weren't
    15    even any official documents prepared for the
    16    complaint.     But it was brought to my attention that
    17    the gentleman had complained.
    18           Q.    How was that brought to your attention?

    19           A.    Somebody in IAD, our internal affairs
    20    division, let me know.
    21           Q.    Did IAD conduct an interview with you?

    22           A.    With me for this case, no.
    23           Q.    Other than that complaint, do you know of

    24    any civilian complaints filed against you?

    25           A.    As I said, I think there have been others,



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      1   but none of them have been substantiated or gone
      2   anywhere.
      3          Q.    Do you know how many?

      4          A.    No.
      5          Q.    Do you know approximately?

      6          A.    Maybe two or three.
      7          Q.    In each case, has IAD told you about the

      8   complaint?

      9          A.    Yes.
    10           Q.    Did IAD interview you?

    11           A.    Not for those cases, no.
    12           Q.    Has IAD ever interviewed you in relation to

    13    a civilian complaint?

    14           A.    Yes.
    15           Q.    When did IAD interview you?

    16           A.    There was a couple times back when I was in
    17    anticrime I was interviewed by IAD, but I can't recall
    18    the specific cases.       I was never given any discipline
    19    for anything.       I don't think that I was the target of
    20    the complaint in any of those cases.
    21           Q.    Do you know if anyone has filed an

    22    employee-misconduct report against you?

    23           A.    At any time?
    24           Q.    Yes.

    25           A.    Yes.



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      1          Q.    You know that someone has done that?

      2          A.    As a -- a member of the department or a
      3   civilian?
      4          Q.    Either.

      5          A.    Yes.
      6          Q.    Was it a civilian or a member of the

      7   department?

      8          A.    A member of the department.
      9          Q.    When did that happen?

    10           A.    Again, in the case we were -- with the
    11    pursuit policy, there's an EMR generated.            And then
    12    more recently there was an EMR generated alleging that
    13    I violated the sick-time policy.
    14           Q.    When was that filed?

    15           A.    Couple weeks ago.
    16           Q.    Other than those two EMRs, do you know if

    17    anyone else has filed an employee-misconduct report

    18    against you?

    19           A.    Not that I'm aware of.
    20           Q.    If I understand correctly, if an officer

    21    uses a certain -- uses force a certain number of times

    22    in a certain period, there's an automatic review; is

    23    that correct?

    24           A.    What period of time are you talking about,
    25    right now?



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      1          Q.    Is that not true now?

      2          A.    Yes, it is true now.
      3          Q.    Okay.   At the time of the events in this

      4   case say during the year of 2017, was that true?             Was

      5   there an automatic review if an officer used force a

      6   certain number of times in a certain period?

      7          A.    I believe so.
      8          Q.    You don't recall when that policy took

      9   effect?

    10           A.    No.
    11           Q.    Do you know what the triggering number of

    12    times is?

    13           A.    No.
    14           Q.    Do you know what period of time is looked

    15    at?    Is it a year or month or something between?

    16           A.    I don't know.
    17           Q.    Have you ever been reviewed for using force

    18    a certain number of times in a certain period?

    19           A.    No.
    20           Q.    Have you ever filed an employee-misconduct

    21    report on another officer?

    22           A.    No.
    23           Q.    Thinking back to the time of the events in

    24    this case, just to confirm, you were a sergeant and

    25    you were part of the Bike Unit; is that correct?



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      1          A.     Yes.
      2          Q.     You were also part of the Bicycle Response

      3   Team; is that right?

      4          A.     Correct.
      5          Q.     How did those groups differ?

      6          A.     The bicycle unit and then the Bicycle
      7   Response Team?
      8          Q.     Uh-huh.

      9          A.     The Bike Unit is comprised of members of the
    10    department who work full-time downtown, and they spend
    11    most of their time on bicycles.
    12                  The bicycle -- those folks that are assigned
    13    to the Bike Unit are members of the Bicycle Response
    14    Team.       Other folks from different areas of the city
    15    have also -- are also members of the Bicycle Response
    16    Team.
    17           Q.     The Bike Unit is about 22 officers; is that

    18    right?

    19           A.     I think the authorized strength is 28
    20    including supervisors and the commander.            But I don't
    21    know how many they have right now assigned to them.
    22           Q.     And the Bicycle Response Team is how many

    23    officers?

    24           A.     I don't know how many right now.
    25           Q.     Do you know approximately?



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      1          A.     No.
      2          Q.     It's bigger than the Bike Unit, right?

      3          A.     Correct.
      4          Q.     Members of the Bicycle Response Team also

      5   have training related to bicycles but not as many --

      6   not as much training as the permanent Bike Unit --

      7          A.     I would say their --
      8          Q.     -- members?

      9          A.     -- their training is about equal.
    10           Q.     As a member of the Bike Unit, what equipment

    11    is issued to you?

    12           A.     Well, I'm not currently a member of the Bike
    13    Unit.       I'm in the 4th District.     But you would --
    14           Q.     Okay.    So if I have this correct now, at the

    15    time of the events in this case, you were detached to

    16    the 4th District and a member of the Bike Unit.

    17                  Now you are still detached to the 4th

    18    District; you are no longer a member of the Bike Unit?

    19           A.     I've actually been transferred to the 4th
    20    District.
    21           Q.     I see.   Okay.

    22           A.     But I'm not a member of the Bike Unit
    23    currently.
    24           Q.     Okay.    When did you get officially

    25    transferred to the 4th District?



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      1          A.    About three weeks ago.
      2          Q.    Okay.    Is that also about three weeks ago,

      3   is that also when you stopped being a member of the

      4   Bike Unit?

      5          A.    No.     I haven't been on the Bike Unit since
      6   mid July.
      7          Q.    Why did you stop being a member of the Bike

      8   Unit?

      9          A.    I took some personal time, personal leave.
    10    So while I was gone on personal leave, they filled the
    11    bike spot essentially with another sergeant.
    12           Q.    Okay.    How long were you on personal leave?

    13           A.    About two and a half or three months.
    14           Q.    Was that with pay or without pay?

    15           A.    With pay.
    16           Q.    Why did you take personal leave?

    17                 MS. DUNCAN:    I'm going to object as

    18    confidential and also irrelevant.

    19           Q.     (By Ms. Steffan) Did your personal leave

    20    have anything to do with the events in this case?

    21           A.    No.
    22           Q.    Did you decide to go on personal leave, or

    23    did somebody tell you to go on personal leave?

    24           A.    I decided to.
    25           Q.    Is personal leave something that's available



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      1   to all members of the force?

      2          A.    Yes.
      3          Q.    With pay?

      4          A.    Yes.   It depends on how much time they have
      5   in their respective banks.
      6          Q.    You used time that you had banked up,

      7   vacation time, or something like that?

      8          A.    Correct.
      9          Q.    When you were a member of the Bike Unit, did

    10    you have a bike that was yours, or do you share bikes

    11    amongst officers?

    12           A.    I had a bike that was assigned to me.
    13           Q.    What brand was it?

    14           A.    Volcanic.
    15           Q.    Is it a patrol bike?

    16           A.    Yes.
    17           Q.    How are patrol bikes different from regular

    18    civilian bikes?

    19           A.    I would say that patrol bikes typically have
    20    better equipment.       Derailers, chains, shocks, bike
    21    racks.
    22           Q.    What's a derailer?

    23           A.    It's a mechanism that allows the chain to
    24    shift different gears.
    25           Q.    And that was true of your patrol bike, it



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      1   had that better equipment?

      2          A.    Comparatively to other bicycles on the
      3   market, yes.
      4          Q.    I assume you also had a uniform assigned to

      5   you, correct?

      6          A.    Yes.
      7          Q.    What other equipment was assigned to you as

      8   a member of the Bike Unit?

      9          A.    A bag, lights for the bike, a helmet and
    10    then moisture-wicking shirts, so different shirts,
    11    pants, shorts.
    12           Q.    How about a name tag, name badge?

    13           A.    No, I didn't have a name badge.         Our names
    14    were sewed into all of our piece of equipment.
    15    Embroidered I guess would be the better term.
    16           Q.    On the front of your shirt; is that right?

    17           A.    Yes, ma'am.
    18           Q.    Do you wear your name anywhere else, on the

    19    back of your shirt or on a coat, on your sleeve,

    20    anything like that?

    21           A.    If we had a coat on, but during the Stockley
    22    protest it was pretty warm.         But on any outer garment
    23    we're required to have our last name affixed to it.
    24           Q.    How about a raincoat?

    25           A.    A raincoat, I don't wear a rain coat down



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      1   there.
      2          Q.    Do you have a raincoat?

      3          A.    I do.
      4          Q.    Does it have your name on it?

      5          A.    No.   But I put a name tag on it if I do wear
      6   it.
      7          Q.    That doesn't puncture it?

      8          A.    It does puncture it.
      9          Q.    Are you issued tactical gear as a -- when

    10    you were a member of the Bike Unit, were you issued

    11    tactical gear?

    12           A.    You're gonna have to be more specific
    13    regarding tactical gear.
    14           Q.    When I say "tactical gear," what do you

    15    understand that to mean?

    16           A.    I understand tactical gear to be heavy armor
    17    with a Kevlar helmet or some sort of ballistic helmet.
    18           Q.    Were you issued a ballistic helmet as a

    19    member of the Bike Unit?

    20           A.    No.
    21           Q.    You said Lieutenant Boyher was your

    22    lieutenant as a member of the Bike Unit during the

    23    Stockley protest; is that right?

    24           A.    Correct.
    25           Q.    Who's your commanding officer now?



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      1          A.    Lieutenant Kirk Deeken and Captain Renee
      2   Kriesmann.
      3          Q.    Who was your captain at the time of the

      4   Stockley protest?

      5          A.    Captain Kriesmann, K-R-I-E-S-M-A-N-N.
      6          Q.    If I recall correctly from your testimony in

      7   court in this case, you worked 20 hours on Friday,

      8   September 15th, 2017; is that right?

      9          A.    Yes.
    10           Q.    That's still true?

    11           A.    Yes.
    12           Q.    And you worked 16 hours on Sunday,

    13    September 17th, 2017 --

    14           A.    Yes.   I believe that's correct.
    15           Q.    Were Lieutenant Boyher -- was Lieutenant

    16    Boyher working during that time?

    17           A.    Yes.
    18           Q.    How about Captain Kriesmann?

    19           A.    I don't recall what her hours were.
    20           Q.    As a member of the Bike Unit and thinking

    21    about the Stockley protest in particular, did you work

    22    with the Documentation Team?

    23           A.    Not very closely.
    24           Q.    Do you know what the Documentation Team is?

    25           A.    Yes.



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      1           Q.   What is it?

      2           A.   Their function is to document events as they
      3   occur.
      4           Q.   How many officers are assigned to that team?

      5           A.   I don't know.
      6           Q.   Did you work with the Civil Disobedience

      7   Team?

      8           A.   At what point?
      9           Q.   Thinking back to the Stockley protest, did

    10    you work with the Civil Disobedience Team?

    11            A.   At what point during the Stockley protest?
    12           Q.    At any point.

    13            A.   Yeah.   Sure.    I think that's a fair -- it's
    14    fair to say yes.
    15           Q.    Are you a member of the Civil Disobedience

    16    Team?

    17            A.   Years ago.
    18           Q.    Not in 2017?

    19            A.   Correct.
    20           Q.    And not now?

    21            A.   Correct.
    22           Q.    Do I understand correctly that the Civil

    23    Disobedience Team is similar to the Bicycle Response

    24    Team in that an officer is a member of CDT and also

    25    has another assignment?



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      1          A.    Yeah, I think that's fair to say.
      2          Q.    Years ago you were a member of CDT?

      3          A.    Yes.
      4          Q.    Did you do training to become a member of

      5   CDT?

      6          A.    Yes.
      7          Q.    What kind of training did you do?

      8          A.    What kind of training?
      9                MS. DUNCAN:    To the extent that you

    10    remember.

    11           A.    So we did training with like line formations
    12    and how to don protective gear.
    13           Q.     (By Ms. Steffan) I'm going to ask you to

    14    clarify.     When you say "years ago," how many years

    15    ago?

    16           A.    I can't even tell you when the last time I
    17    took CDT training was.
    18           Q.    Okay.   Do you recall testifying at a court

    19    hearing for this lawsuit?

    20           A.    For the preliminary -- at the preliminary
    21    injunction hearing?
    22           Q.    Yes.

    23           A.    Yes.
    24           Q.    Are you aware that the court entered an

    25    order after that hearing?



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      1           A.   Yes.
      2           Q.   What does that order say?

      3           A.   I don't know.
      4                MS. DUNCAN:    And just -- I'm going to object

      5   in that the order speaks for itself.

      6           Q.    (By Ms. Steffan) Do you have an

      7   understanding of what the order says?

      8           A.   Not -- not particularly.
      9           Q.   Have you read it?

    10            A.   A long time ago or when the order was
    11    issued, I did.
    12           Q.    How have you changed your practices after

    13    that order was issued?

    14            A.   I haven't changed any of my practices
    15    personally.
    16           Q.    When did you first hear about the Stockley

    17    case?

    18                 MS. DUNCAN:    Object as to vague.       Do you

    19    mean the verdict or --

    20           Q.     (By Ms. Steffan) Just when did you first

    21    hear of the case, the Stockley case?

    22            A.   Are you talking about like when it --
    23                 MS. DUNCAN:    Same objection.      You can answer

    24    it if you understand.

    25            A.   Like -- are you saying like when the -- when



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      1   he was involved in the police shooting?
      2          Q.     (By Ms. Steffan) When did you first hear

      3   that there was a criminal case against Officer

      4   Stockley?

      5          A.    I read it in the paper, but I can't be
      6   specific as to when.
      7          Q.    That's fine.     If you don't remember, feel

      8   free to say you don't remember.          When did you find out

      9   that a verdict had been issued?

    10           A.    The morning of the 15th.       I don't recall
    11    what time.
    12           Q.    Was it while you were at work or before you

    13    arrived at work?

    14           A.    At work.
    15           Q.    At that time thinking back to the morning of

    16    the 15th, did you believe that there would be protests

    17    related to the Stockley verdict?

    18           A.    Yes.
    19           Q.    What did you base that belief on?

    20           A.    There was -- it was known that there -- how
    21    can I say this?      It was known that there were people
    22    very angry about the potential outcome of the trial,
    23    and it was thought that there was going to be civil
    24    unrest in the wake of the verdict either way.
    25           Q.    When you use the term "civil unrest," what



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      1   do you mean?

      2          A.    Folks that are very angry about what
      3   happened and the possibility of violence or property
      4   destruction.
      5          Q.    How did you prepare for the protests that

      6   you believed would be coming?

      7          A.    At what point?
      8          Q.    Any point.

      9          A.    Like personally or like the department or --
    10           Q.    What did you do to prepare in your work

    11    capacity to -- when you knew the protests were coming?

    12           A.    We had to come in at 8 o'clock that morning,
    13    and we had the Bicycle Response Team -- everybody in
    14    the Bicycle Response Team was ordered to report to
    15    work at the bike office that morning.
    16           Q.    What happened after you reported for work?

    17           A.    Like first thing in the morning?         I think I
    18    probably ate breakfast.
    19           Q.    Did you all meet together, or did you get

    20    your bike, or what did you do first when you arrived?

    21           A.    As I said, we probably ate breakfast, but I
    22    don't recall specifically what we did when I arrived.
    23           Q.    How long did you spend at the bike office

    24    before you went out on the street?

    25           A.    I don't know.



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      1          Q.    Do you know what time you went out on the

      2   street?

      3          A.    No.
      4          Q.    When you went out on the street, were you

      5   with the Bike Response Team?

      6          A.    Yes.
      7          Q.    If I understand right, that's Bike Unit plus

      8   additional auxiliary officers; is that correct?

      9          A.    BRT officers, yes.
    10           Q.    Everyone who is on the Bike Unit is also a

    11    member of the BRT, right?

    12           A.    Correct.
    13           Q.    Okay.   What was your first assignment that

    14    day?

    15           A.    Well, to come to work.
    16           Q.    And then what?

    17           A.    I don't recall what the first assignment was
    18    specifically.
    19           Q.    Where did you first go from the bike office?

    20           A.    I don't remember specifically.
    21           Q.    Thinking back to the morning of the 15th of

    22    September 2017, do you recall any orders you were

    23    given that morning?

    24           A.    Any orders?
    25           Q.    Any orders related to the Stockley protest?



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      1          A.    That morning, no.      Not very specifically,
      2   no.
      3          Q.    Did the Bike Response Team stage somewhere

      4   at some point?

      5          A.    At some point, yes.
      6          Q.    In the morning or afternoon; do you recall?

      7          A.    Both.
      8          Q.    Okay.   Where did you first stage?

      9          A.    Gosh, I can't remember specifically where we
    10    first staged, but I know that we went out, and then we
    11    kind of regrouped at a particular spot.
    12           Q.    Do you recall where you regrouped?

    13           A.    No.
    14           Q.    Okay.   If you can just describe for me, were

    15    you riding around, or were you walking your bike

    16    throughout that morning, or were you stationary in one

    17    place?

    18           A.    It depends on at which specific point you're
    19    talking about.
    20           Q.    Did you do all of those things?

    21           A.    Yes.
    22           Q.    Okay.   You were downtown; is that right?

    23           A.    During the morning --
    24           Q.    During the morning of September 15th, 2017?

    25           A.    Yes.



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      1          Q.    Did you remain downtown that whole day?

      2          A.    No.
      3          Q.    Where else did you go?

      4          A.    We also went to the Central West End later
      5   that evening.
      6          Q.    Thinking to the period of time where it was

      7   light on September 15th, 2017, were you downtown that

      8   whole time?

      9          A.    Not the entire time but most of it, yeah.
    10    Yeah, most of it I would say.
    11           Q.    Where else did you go?

    12           A.    In the evening time, as I said, we went to
    13    the Central West End.       But as I said, I'm pretty sure
    14    we spent most of our time downtown the first day.
    15           Q.    Was there an area downtown that you

    16    patrolled most heavily?

    17           A.    Not specifically.
    18           Q.    Are you familiar with the term "incident

    19    commander"?

    20           A.    Yes.
    21           Q.    What does that mean?

    22           A.    It's the person who is in charge of an
    23    incident.
    24           Q.    How does a person become in charge of an

    25    incident?



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      1          A.    Probably by virtue of rank.
      2          Q.    And by that you mean the highest ranking

      3   person at an incident would be the incident commander?

      4          A.    Not necessarily but in some cases, yes.
      5          Q.    Were you ever an incident commander on

      6   September 15th?

      7          A.    No.
      8          Q.    Okay.   Is it fair to say that you were

      9   taking orders from somebody that whole day?

    10           A.    I took orders from others throughout the
    11    day, yes.
    12           Q.    Have you ever been an incident commander?

    13           A.    No.
    14           Q.    Is it generally something that someone with

    15    a higher rank than sergeant would be?

    16           A.    Usually -- typically.       Backing up though,
    17    like let's say if I'm the ranking person on a homicide
    18    scene or a critical incident or a person has been
    19    struck or any number of major incidents, the first
    20    ranking person on the scene becomes the incident
    21    commander until they're relieved by either the
    22    appropriate command -- or investigatory unit or a
    23    commander.
    24                 So I guess I should amend what I said and
    25    say, yes, I have been an incident commander.



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      1          Q.    Until you were relieved by someone of higher

      2   rank?

      3          A.    Either of higher rank or the appropriate
      4   investigative unit.
      5          Q.    Okay.   If I use the phrase "an exigent

      6   safety situation," are you familiar with that phrase?

      7          A.    Yes.
      8          Q.    What does that mean?

      9          A.    Well, it can be pretty vague, but a
    10    situation where life safety is in danger that has to
    11    be corrected or I guess there's also exigent
    12    circumstances in a legal sense.
    13           Q.    If I use the phrase "the bus incident," do

    14    you know what I'm talking about?

    15           A.    In general terms, yes.
    16           Q.    Okay.   Is it fair to say that on the

    17    afternoon of September 15th near Tucker and Clark,

    18    there was a time where there were some Metro buses

    19    there and some protesters at that same intersection?

    20           A.    Yes.
    21           Q.    You were working at that time, correct?

    22           A.    Correct.
    23           Q.    You were near the buses?

    24           A.    I was told to go near the buses.
    25           Q.    What was your mission in going near the



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      1   buses?

      2          A.    To extract the buses safely.
      3          Q.    Who told you that that was what you were

      4   supposed to do?

      5          A.    We were told over the radio and then also
      6   Lieutenant Boyher.
      7          Q.    Were you told where the buses should be

      8   extracted to?

      9          A.    No, not specifically.
    10           Q.    Were you told which way they should go?

    11           A.    No.
    12           Q.    How long did it take you to extract the

    13    buses?

    14           A.    I don't recall specifically.
    15           Q.    How many buses were there?

    16           A.    Two.
    17           Q.    What were the buses being used for?

    18           A.    I believe they were being used to transport
    19    and convey members of the CDT.
    20           Q.    When you were told to extract them, were

    21    they empty or full or somewhere in between?

    22           A.    One bus I know was full.
    23           Q.    Meaning it had CDT officers on it?

    24           A.    And civilians, yes.
    25           Q.    What civilians?



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      1          A.    The bus driver.
      2          Q.    So it had one civilian on it?

      3          A.    I don't recall if there was more than one
      4   civilian, but there was at least one on there.
      5          Q.    What about the other bus?

      6          A.    I don't know if the other bus had people on
      7   it or not.     At some point, I think the folks that were
      8   on the bus got off the bus during the so-called "bus
      9   incident."
    10           Q.    While the bus was still stationary at that

    11    location or after it had moved?

    12           A.    While it was stationed at that location.
    13           Q.    So if I understand correctly, you got an

    14    order over the radio that you and the Bike Response

    15    Team were supposed to extract the buses safely; is

    16    that correct?

    17           A.    Correct.
    18           Q.    Were you told how to do that?

    19           A.    No.
    20           Q.    Who decided how to go about that mission?

    21           A.    Well, we -- we -- I guess the supervisors
    22    decided how to go about that mission, and the Bicycle
    23    Response Team folks used their training.
    24           Q.    Who were the supervisors?       Are you a

    25    supervisor?



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      1           A.   I am.
      2           Q.   So you consulted with other supervisors?

      3           A.   With the lieutenant and other supervisors,
      4   yes.
      5           Q.   The other supervisors also being sergeants;

      6   is that right?

      7           A.   Yes.
      8           Q.   So once you got that order, you, Lieutenant

      9   Boyher, the other sergeants spoke about what to do

    10    next; is that right?

    11            A.   I recall Sergeant -- or Lieutenant Boyher
    12    and I are in a group of BRT officers discussing
    13    strategy in terms of how to get the buses out safely
    14    without escalating the situation more than -- how
    15    volatile it was already.
    16           Q.    How many officers were working with the Bike

    17    Response Team at that point?

    18            A.   I don't recall very specifically, but
    19    probably close to between 30 and 40.
    20           Q.    Were there other non-BRT officers there as

    21    well?

    22            A.   Where's there?
    23           Q.    Near the buses.

    24            A.   There were BRT officers on the buses, but I
    25    don't recall if there were any police officers off of



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      1   the buses at that point when we first got there.
      2          Q.    So the buses had CDT officers or BRT

      3   officers or both?

      4          A.    CDT officers --
      5          Q.    Okay.

      6          A.    -- from my understanding.
      7          Q.    So the only Bike Response Team officers were

      8   on foot with their bikes; is that right?

      9          A.    Well, it depends on at what point you're
    10    talking about.
    11           Q.    When you had received the order to extract

    12    the buses, who was there on the ground?

    13           A.    Well, I don't know about other people, but
    14    we kind of traveled in a group, so it was BRT
    15    officers.
    16           Q.    Okay.   You didn't have any other units with

    17    you besides BRT?

    18           A.    Correct.
    19           Q.    And how many sergeants were there?

    20           A.    Including me, I think it was five.
    21           Q.    Do you know who they were?

    22           A.    Sergeant Schulte, Morrison, Flowers, Duke,
    23    and Marx.     How many is that?
    24           Q.    Six including you; is that right?

    25           A.    I think that's right.       There may have been



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      1   somebody off that day.        I don't remember.
      2          Q.    So one of those officers may not necessarily

      3   have been there?

      4          A.    Sergeants, yes.
      5          Q.    Sorry.    Yes, sergeants.     Okay.    Did you

      6   discuss several plans for extracting the buses or just

      7   one plan?

      8          A.    Just one plan.
      9          Q.    What was the plan?

    10           A.    To form columns of two, approach the bus and
    11    make a path -- a clear path for the bus to safely
    12    exit, the buses to safely exit.
    13           Q.    Is it fair to say the buses were one right

    14    behind the other?

    15           A.    Yes.
    16           Q.    And they were up against the sidewalk; is

    17    that right?

    18           A.    I don't know how -- I don't recall how close
    19    they were to the sidewalk.
    20           Q.    Okay.    When you say "form columns of two,"

    21    what does that mean?

    22           A.    So essentially a row of two.
    23           Q.    Okay.    So one by one, one officer followed

    24    by one officer followed by one officer?

    25           A.    So in that configuration but double.          So



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      1   there's --
      2          Q.    Got it.

      3          A.    If you think of two lanes of traffic,
      4   there's two rows of bicycle officers.
      5          Q.    Okay.   At that point, the officers were all

      6   walking their bikes; is that right?

      7          A.    At what point?
      8          Q.    When you had formed the columns of two and

      9   you were planning to approach the bus, were you on

    10    your bicycles or walking your bicycles?

    11           A.    I believe we started on our bikes, and then
    12    the crowd got too thick, so we dismounted our bikes.
    13           Q.    How big was the crowd?

    14           A.    In terms of numbers of --
    15           Q.    Just numbers of people.

    16           A.    I can't say.     I can't tell you.      There was a
    17    lot of people.
    18           Q.    Where was your position in the column?

    19           A.    At what time?
    20           Q.    At -- after you had dismounted from your

    21    bike and you were approaching the bike -- or I'm sorry

    22    -- the bus on foot, were you first in the column or in

    23    the middle of the column or the back of the column?

    24           A.    I was pretty close to the front.
    25           Q.    Had you agreed ahead of time that that would



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      1   be where your position was, or was it just how you

      2   ended up as you approached the bus?

      3           A.   It's how I ended up.
      4           Q.   It wasn't because you were a sergeant or

      5   something like that?

      6           A.   Well, I was one of the supervisors, so I
      7   didn't necessarily have to fall into that column of
      8   two.
      9           Q.   Okay.   I see.    The columns were the patrol

    10    officers?

    11            A.   Correct.
    12           Q.    And the supervisors were sort of around

    13    them?

    14            A.   Correct.
    15           Q.    Okay.

    16            A.   Around or in the middle of the columns.
    17           Q.    You said when you first approached the bus,

    18    you were on your bike but then the crowd got too

    19    thick; is that right?

    20            A.   Well, between the time we discussed strategy
    21    and the time we got to the bus, about -- I would say
    22    the midpoint or shortly after we started riding, we
    23    got off of our bike if I recall correctly.            We may
    24    have walked -- I -- I'm pretty sure we started out on
    25    the bike.



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      1           Q.   Was that part of your plan to dismount from

      2   the bike?

      3           A.   That was very dynamic, so I think we -- if I
      4   recall correctly, we dismounted the bike kind of on
      5   the fly.
      6           Q.   How were you communicating with each other

      7   at that point, the members of the Bike Response Team?

      8           A.   By voice.
      9           Q.   Just yelling?

    10            A.   Yelling or by radio.
    11           Q.    Where is your radio when you're walking your

    12    bike?

    13            A.   At the time of the bus incident?
    14           Q.    Yes.

    15            A.   Attached to my hip.
    16           Q.    So if you want to talk into it, you have to

    17    pick it up and --

    18            A.   No.    Because I have an extension that goes
    19    to my shirt.
    20           Q.    Gotcha.    Do you have to press the button, or

    21    does your voice automatically pick that --

    22            A.   I have to press a button.
    23           Q.    What channel were you on?

    24            A.   I don't remember.
    25           Q.    You were carrying pepper spray, right?



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      1          A.    Yes.
      2          Q.    That's your handheld can?

      3          A.    I was carrying -- wait.       At what time?
      4          Q.    Sorry.    As you are approaching the buses and

      5   you have dismounted your bike, are you carrying pepper

      6   spray at that point?

      7          A.    I had it on my belt.
      8          Q.    You weren't carrying it in your hand?

      9          A.    I don't remember if I had it in my hand or
    10    if it was on my belt.
    11           Q.    How big is your can of pepper spray that you

    12    carry on your belt?

    13           A.    I -- maybe about as big as that recorder.
    14           Q.    Okay.    So a few inches tall; is that fair to

    15    say?

    16           A.    Yes.
    17           Q.    Okay.    Does every officer carry pepper spray

    18    on his or her belt?

    19                 MS. DUNCAN:    Object as to speculation.

    20    Subject to that, you can answer.

    21           A.    Officers are issued cans of pepper spray to
    22    carry on their belt.
    23           Q.     (By Ms. Steffan) You wouldn't know if every

    24    officer carries it at all times?          I understand.     You

    25    know what a fogger is?



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      1          A.    I'm vaguely familiar with the term.
      2          Q.    Based on your understanding of the term,

      3   what is it?

      4          A.    It's a device that distributes pepper spray
      5   to disperse in a crowd.
      6          Q.    You weren't carrying a fogger at the time

      7   that you were approaching the bus in this incident

      8   we're talking about, right?

      9          A.    Correct.
    10           Q.    Do you know if anyone in BRT was carrying a

    11    fogger?

    12           A.    Nobody was assigned a fogger.
    13           Q.    Do you know who was assigned foggers?

    14           A.    It's my understanding the department doesn't
    15    have foggers.
    16           Q.    Is it your understanding that it did not

    17    have foggers at the time of this incident?

    18           A.    Correct.
    19           Q.    You've seen pictures of officers with

    20    foggers from this day, correct?

    21           A.    From this day?
    22           Q.    Uh-huh.

    23           A.    No.
    24           Q.    Have you ever seen SLMPD officer carrying a

    25    fogger?



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      1          A.    No.
      2          Q.    The pepper spray that you are issued, you

      3   typically carry that on your belt?

      4          A.    Yes.
      5          Q.    If I understand correctly, that -- if you

      6   deploy that can of pepper spray, it issues a single

      7   stream; is that correct?

      8          A.    Correct.
      9          Q.    What do you use pepper spray for?

    10                 MS. DUNCAN:    I'll object as to vague.

    11    Subject to that, you can answer if you understand.

    12           A.    So the question was, what do I use pepper
    13    spray for?
    14           Q.    Yes.

    15           A.    Pepper spray can be used to control a
    16    subject who's disobeying direct orders from a police
    17    officer, to assist in effecting a lawful arrest, and
    18    it falls in the force continuum before open- or
    19    closed-hand techniques, control techniques.
    20           Q.     (By Ms. Steffan) What's the difference

    21    between an open-hand technique and a closed-hand

    22    technique?

    23           A.    An open-hand technique would be use of force
    24    such as placing somebody into an arm bar and directing
    25    them to the ground or forcibly having to handcuff



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      1   somebody.
      2          Q.    What's a closed-hand technique?

      3          A.    Striking somebody with a baton or a fist.
      4          Q.    So under the use-of-force continuum, it

      5   would go first try pepper spray, then try an open-hand

      6   technique and then try a closed-hand technique?

      7          A.    First would be an officer's presence, and
      8   then second would be verbal commands.
      9          Q.    I see.

    10           A.    Then he would elect to use pepper spray if
    11    appropriate.
    12           Q.    Are there -- is there anything in between a

    13    verbal command and pepper spray?

    14           A.    No.     And I guess I misspoke.     The Taser does
    15    come into play too.
    16           Q.    Is that a bigger use of force than a hand

    17    technique or --

    18           A.    A Taser comes in before closed-hand
    19    technique.
    20           Q.    Okay.    Is there a continuum within verbal

    21    commands?

    22           A.    I can't answer that specifically.
    23           Q.    Directing your attention now, again, back to

    24    the two columns of officers who are approaching the

    25    bus, buses on foot, what happened after you had



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      1   dismounted and were heading toward the buses?

      2          A.    We began -- the members of the Bicycle
      3   Response -- a lot of things happened, a whole lot.
      4                So folks in the crowd began throwing objects
      5   at my subordinates and my colleagues.           People -- or
      6   there were some folks that grabbed on to some of the
      7   supervisors' and the officers' bicycles.            I believe
      8   Sergeant Marx sustained an injury because his bicycle
      9   was pushed into him.
    10           Q.    Anything else?

    11                 MS. DUNCAN:    I'm going to object.       It calls

    12    for a narrative.      Subject to that, you can answer.

    13           A.    Okay.   I do recall people attempting to
    14    physically block our path to the bus.
    15           Q.     (By Ms. Steffan) Anything else?

    16           A.    That's a very brief synopsis of getting to
    17    the bus.
    18           Q.    I'm going to ask you about each of the

    19    things you just mentioned.

    20           A.    Okay.
    21           Q.    You said folks on the ground began throwing

    22    objects; is that correct?

    23           A.    Yes.
    24           Q.    How many people did you see throwing

    25    objects?



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      1          A.    I wasn't necessarily focused on the people
      2   throwing objects.       I was focused on our objective,
      3   which was freeing the bus.         So I couldn't even begin
      4   to count the amount of people that are throwing
      5   objects at us.
      6          Q.    Can you estimate?

      7          A.    No.
      8          Q.    Was it more than one?

      9          A.    Oh, yeah.
    10           Q.    What objects were being thrown?

    11           A.    Water bottles filled with water and rocks.
    12           Q.    Did any of those objects hit you?

    13           A.    Not me, not at that time.
    14           Q.    Did you see those objects hit other

    15    officers?

    16           A.    Yes.
    17           Q.    Do you recall how many you saw?

    18           A.    No.
    19           Q.    Do you recall if it was people in front of

    20    you that were throwing things or whether they were

    21    sort of off in your peripheral vision or behind you?

    22           A.    The people throwing objects, from what I
    23    recall, were mainly directly to the west of us because
    24    the buses were actually closer to Walnut, I believe.
    25    The street south of Clark.



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      1          Q.    Spruce?

      2          A.    Spruce.    So the buses were between Spruce
      3   and Clark on Tucker facing north.          And the buses were
      4   closer to Spruce.
      5          Q.    They were on the east side of Tucker; is

      6   that right?

      7          A.    Yes.
      8          Q.    You mentioned that people grabbed on to

      9   bicycles --

    10           A.    Yes.
    11           Q.    -- is that correct?      How many people grabbed

    12    on to bicycles?

    13           A.    I don't know.
    14           Q.    Did you see this happen?

    15           A.    Yes.
    16           Q.    How many people did you see grab on to

    17    bicycles?

    18           A.    I saw somebody grabbing on to one of my
    19    officers' bicycles, and then I looked back, and I also
    20    saw somebody grabbing on Sergeant Marx bicycle.
    21           Q.    Which officer did you see his bike get

    22    grabbed?

    23           A.    I'm fairly certain it was Tony Miller, but I
    24    can't be 100% positive.
    25           Q.    When you say "grabbing on to the bike," did



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      1   the person grab on to the handlebars or the --

      2          A.    I can't remember specifically where the
      3   person grabbed.
      4          Q.    The person was standing up; is that fair?

      5          A.    Yes.
      6          Q.    Other than when you saw somebody grab on to

      7   one of your officers' bikes that you think was

      8   probably Officer Miller and you saw somebody grab on

      9   to Sergeant Marx's bike, did you see anybody else grab

    10    a bike?

    11           A.    No.
    12           Q.    And Sergeant Marx was behind you; is that

    13    right?

    14           A.    Correct.
    15           Q.    How about Officer Miller, where was he in

    16    relation --

    17           A.    He was either in front of me or next to me
    18    or just right behind me.
    19           Q.    You could see that happen without turning

    20    your head?

    21           A.    Correct.
    22           Q.    You said you believe Sergeant Marx sustained

    23    an injury from someone pushing his bike into him; is

    24    that right?

    25           A.    Yes.



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      1          Q.    What kind of injury did he sustain?

      2          A.    I recall -- I remember taking photographs of
      3   it, and if I recall -- or at least videoing it, and if
      4   I recall correctly, it was an abrasion or laceration
      5   to one of his legs.
      6          Q.    Did he say how the person had positioned

      7   themselves that forced the bike to hit him?

      8          A.    I don't recall.
      9          Q.    You also mentioned that you recall people

    10    attempting to physically block your path; is that

    11    right?

    12           A.    Yes.
    13           Q.    What did they do to block your path?

    14           A.    They formed a line right in front of us
    15    perpendicular to our line.
    16           Q.    How many people formed a line?

    17           A.    I can't remember.
    18           Q.    More than 10, less than 10?

    19           A.    We could -- I think it's fair to say
    20    approximately 10.
    21           Q.    Okay.   Were you saying anything as you were

    22    -- so thinking from the time when you dismounted your

    23    bike and were walking with your bike heading toward

    24    the buses, were you saying anything during that time

    25    period?



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      1          A.    Yes.
      2          Q.    What were you saying?

      3          A.    In unison members of the Bicycle Response
      4   Team were saying "move back" in a loud and clear
      5   voice.
      6          Q.    Is that something you planned ahead of time

      7   when you were deciding how to accomplish your mission?

      8          A.    Yes.
      9          Q.    Other than saying "move back," did you say

    10    anything?

    11           A.    At what time?     While we were traveling to
    12    the bus?
    13           Q.    Yes.

    14           A.    No.
    15           Q.    Did you tell anybody what you were trying to

    16    do?    Did you -- I'm sorry.

    17                 Did you tell any civilians what you were

    18    trying to do?

    19           A.    At that point, no.
    20           Q.    Had you previously told any civilians what

    21    you were trying to accomplish?

    22           A.    No.
    23           Q.    You said --

    24                 MS. DUNCAN:    Can we take a break?

    25                 MS. STEFFAN:     Sure.



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      1                MS. DUNCAN:    About 10 minutes maybe?

      2                MS. STEFFAN:     Yeah, that's fine.

      3                      (Recess.)

      4          Q.     (By Ms. Steffan) Earlier you mentioned that

      5   some people had formed a line facing you in front of

      6   the bus; is that right?

      7          A.    Correct.
      8          Q.    Was that in front of the bus that was

      9   further north or the bus that was further south?

    10           A.    Further north.
    11           Q.    Both buses were still there at the time you

    12    encountered that line?

    13           A.    Correct.
    14           Q.    And I know you don't recall the exact

    15    number, but you thought it was probably approximately

    16    maybe 10 people?

    17           A.    Maybe 10ish.
    18           Q.    What did you tell the people in that line,

    19    if anything?

    20           A.    "Move back."
    21           Q.    The bus was directly behind them; is that

    22    right?

    23           A.    This particular line of people we're talking
    24    about was -- was yards in front of us or meters.             I
    25    don't remember exactly how many.          But it was quite



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      1   clear to me that this particular group of people knew
      2   exactly what our objective was, and they were
      3   preventing us from getting there.
      4          Q.    How did you determine that they knew what

      5   your objective was?

      6          A.    Because as we continued to walk our bikes
      7   towards the bus and in unison in a loud and clear
      8   voice say "move back," these particular folks walked
      9   in front of us in order to keep us from getting to the
    10    buses.
    11           Q.    When they walked in front of you, were they

    12    walking in a line, or did they come from different

    13    directions?

    14           A.    I believe they came from different
    15    directions.
    16           Q.    Was there anything else that made you

    17    believe that they knew what you were intending to

    18    accomplish?

    19           A.    Other than their actions, no.
    20           Q.    After that group of people walked in front

    21    of you, what did you do next?

    22           A.    We simply -- the people at the front of the
    23    line simply pushed their bikes through them.
    24           Q.    And were you at the front of the line at

    25    that point?



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      1          A.    I believe so.
      2          Q.    Did that work?

      3          A.    Yes.
      4          Q.    Then you were -- at that point, were you the

      5   group of people who was closest to the bus?

      6          A.    Correct.
      7          Q.    Did you at some point deploy pepper spray as

      8   you were approaching the bus?

      9          A.    I did.
    10           Q.    When did you do that?

    11           A.    First was when, if I recall -- my
    12    subordinate's bike was being wrestled away from him.
    13    I deployed Mace towards the person that was
    14    responsible for that.
    15           Q.    And this is the subordinate that you believe

    16    was Officer Miller but you're not positive?

    17           A.    Correct.
    18           Q.    When you say "wrestled away from him," what

    19    do you mean?

    20           A.    When I looked over, the person had a grip or
    21    a hold of Officer Miller's bike, who I believe to be
    22    Officer Miller's bike, and I don't recall specifically
    23    if the person was trying to push it or pull it, but
    24    there was obviously a little bit of back and forth
    25    (indicating).



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      1          Q.    And you're moving both of your hands at this

      2   point when you're demonstrating what the person is

      3   doing; is that right?

      4          A.    Correct.
      5          Q.    So you saw the person use two hands on the

      6   bike?

      7          A.    Yes.   Yes.
      8          Q.    And you deployed pepper spray against the

      9   individual who had their hands on the bike?

    10           A.    Correct.
    11           Q.    Was that a man or woman?

    12           A.    I don't recall.
    13           Q.    Where did you try to deploy the spray?          Was

    14    it at the person's face or somewhere else?

    15           A.    In their face.
    16           Q.    What was your goal?

    17           A.    To keep my officer from getting assaulted
    18    any further.
    19           Q.    When that person was wrestling the bike

    20    away, that was assaulting the officer?

    21           A.    I believe so, yes.
    22           Q.    Was that mission successful?        Did the pepper

    23    spray prevent them from wrestling the bike any

    24    further?

    25           A.    Yes.



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      1          Q.    Did you arrest that person?

      2          A.    No.
      3          Q.    Why not?

      4          A.    Not that I'm aware of.       Because at the time
      5   it just wasn't safe or practical.
      6          Q.    Did you say anything about that person on

      7   your radio?

      8          A.    I don't recall if I said that on my radio or
      9   not.
    10           Q.    Did you talk to Officer Miller about it

    11    later?

    12           A.    Yes.
    13           Q.    What did you say?

    14           A.    I don't really remember specifically what we
    15    talked about, but we did talk about the incident.
    16           Q.    Do you recall what Officer Miller said?

    17           A.    No.
    18           Q.    Does Officer Miller carry pepper spray?

    19           A.    I'm not sure.
    20                 MS. DUNCAN:    Objection.     Speculation.     But

    21    you can answer.

    22           Q.     (By Ms. Steffan) You don't know whether

    23    Officer Miller was carrying pepper spray at that time,

    24    correct?

    25           A.    Correct.



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      1          Q.    Did any other officer deploy pepper spray

      2   against that individual?

      3          A.    I don't know.
      4          Q.    Do you recall seeing any other officer

      5   deploy pepper spray against that person?

      6          A.    No.
      7          Q.    Is that the only time you deployed pepper

      8   spray during this incident?

      9          A.    No.
    10           Q.    When else did you deploy pepper spray?

    11           A.    When I got to the bus.
    12           Q.    When you say "got to the bus," do you mean

    13    -- what do you mean?       Were you the person closest to

    14    the bus at that point?

    15           A.    I was one of the officers closest to the
    16    bus, yes.
    17           Q.    Who did you deploy pepper spray against?

    18           A.    Numerous individuals.
    19           Q.    Civilians?

    20           A.    Yes.
    21           Q.    How many people; do you know?

    22           A.    I don't remember.      More than one.
    23           Q.    More than five?

    24           A.    I don't think it was more than five, but I
    25    can't say for sure.



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      1          Q.    Do you recall how many bursts of spray you

      2   deployed?

      3          A.    Not specifically.
      4          Q.    Can you estimate?

      5          A.    No.
      6          Q.    More than 10?

      7          A.    No.
      8          Q.    You feel confident it was less than 10?

      9          A.    Yes.
    10           Q.    But you're not sure exactly what number?

    11           A.    Correct.
    12           Q.    And you said you deployed spray against

    13    multiple people; is that right?

    14           A.    Correct.
    15           Q.    Why did you do that?

    16           A.    Because they were refusing my direct and
    17    very clear orders to remove themselves from the front
    18    of the bus.
    19           Q.    When you say "remove themselves from the

    20    front of the bus," were they touching the bus?

    21           A.    Yes.
    22           Q.    How were they touching the bus?

    23           A.    Some -- there was a group of folks in front
    24    of the bus.     Most of them had their arms interlocked
    25    with each other, and then some had their arms



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      1   interlocked to the bike rack, which was on the front
      2   of the bus (indicating).
      3          Q.    When you say they had their arms

      4   interlocked, you were demonstrating.           Is it fair to

      5   say you got your elbows out from your body?

      6          A.    Correct.
      7          Q.    So the people had their elbows linked; is

      8   that right?

      9          A.    Correct.    Their arms linked at the elbows
    10    would be a better way to say that.
    11           Q.    How many people had their arms interlocked

    12    through the front of the bus?

    13           A.    I don't remember.
    14           Q.    More than one?

    15           A.    Yes, I think.
    16           Q.    It might have been one, or it might have

    17    been more than one?

    18           A.    It might have been one, or it might have
    19    been more than one.       I think that's a better way to
    20    say that.
    21           Q.    Do you recall one for sure?

    22           A.    It was at least one.
    23           Q.    The person who you recall for sure, was that

    24    a man or a woman?

    25           A.    I don't remember.



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      1          Q.    How was the person's arm linked through the

      2   front of the bus?       What was it attached to?

      3          A.    The bike rack.
      4          Q.    Was the bike rack up or down?

      5          A.    Up.
      6          Q.    If I understand correctly, the bike rack is

      7   metal; is that right?

      8          A.    Yes.
      9          Q.    Sort of a metal pipe frame?

    10           A.    At least on the front of Metro buses or
    11    Bi-State buses, yes.
    12           Q.    So their elbow was through the metal pipe

    13    frame at the top of the rack in its up position; is

    14    that right?

    15           A.    That would be fair to say, yes.
    16           Q.    I'm going to show you a document.

    17                        (Exhibit 1 was marked for

    18                        identification by the court reporter.)

    19           Q.     (By Ms. Steffan) I'm going to hand you a

    20    document marked as Karnowski Exhibit 1.

    21           A.    Yes.
    22           Q.    Do you recognize what this picture is

    23    showing?

    24           A.    A bus, yeah.
    25           Q.    You do recognize it?



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      1          A.    Yes.
      2          Q.    Besides --

      3          A.    Vaguely.
      4          Q.    I will stipulate it is a very grainy

      5   picture.     Besides the bus, what do you see in this

      6   picture?

      7          A.    People.
      8          Q.    When you were previously describing the

      9   people who had their elbows linked in front of the

    10    bus, is this the group of people?

    11           A.    Possibly.    I can't say absolutely for sure.
    12           Q.    Which of these people had their arm linked

    13    through the front of the bike rack?

    14           A.    I wouldn't be able to tell you.
    15           Q.    Do you know where that person was

    16    positioned?

    17           A.    In front of the bus -- you mean the person
    18    that I saw linked in front of the bike rack?
    19           Q.    Yes.

    20           A.    In front of the bus.
    21           Q.    Do you know if they were on the left or

    22    right side of the front of the bus as you were facing

    23    the bus?

    24           A.    I don't recall.
    25           Q.    Do you remember if they had their left arm



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      1   or their right arm linked through the bike rack?

      2          A.    No.
      3          Q.    No, you don't recall that?

      4          A.    I don't recall.
      5          Q.    Which of these people did you deploy pepper

      6   spray against?

      7          A.    I don't recall.
      8                MS. DUNCAN:    I'm going to object to lack of

      9   foundation only because he's stated he doesn't know if

    10    this was the group or not he saw.

    11           Q.     (By Ms. Steffan) How long do you have to

    12    press down on your pepper-spray can for it to deploy

    13    pepper spray?

    14           A.    I would say it's almost instant.
    15           Q.    How long did you spray the spray?         A few

    16    seconds or longer than that or shorter than that?

    17           A.    If I recall correctly, it was a sweeping
    18    motion from one direction to the other.           I don't
    19    remember what direction.
    20           Q.    This bus that is depicted in Exhibit 1, this

    21    is the bus that was more north, is that correct, or do

    22    you not know?

    23           A.    I don't know.
    24           Q.    Do you know if this bus that is depicted, if

    25    it was empty or full?



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      1          A.    I don't know if this is the first bus or the
      2   second bus.
      3          Q.    Okay.   Did you see two groups of people with

      4   their arms linked or only one group of people when you

      5   were approaching the bus?

      6          A.    The first bus or the second bus?
      7          Q.    As you were -- after you had dismounted your

      8   bike and you were approaching either bus, did you see

      9   more than one group of people with their arms linked?

    10           A.    Yes.    If you recall, like on our way to the
    11    bus, we encountered a group of people with their arms
    12    linked.
    13           Q.    Okay.   I didn't understand that that first

    14    group also had their arms linked.

    15           A.    Yes.
    16           Q.    Okay.   And those people were some yards from

    17    the bus; is that what you said earlier?

    18           A.    Meters, yards, yes, north of the bus.
    19           Q.    And you don't know whether that group was

    20    the people who are depicted in Exhibit 1 or not?

    21           A.    Correct.
    22           Q.    Okay.   So these people might have been the

    23    first group or the second group?

    24           A.    I don't think these would have been the
    25    first group, but I can't -- I can't say for sure



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      1   because I don't know when this picture was taken
      2   relative to when we got there.
      3          Q.    Sure.   The first group of people that you

      4   encountered with their arms linked that were some

      5   meters from the bus, did you deploy pepper spray

      6   against any of those people?

      7          A.    No.
      8          Q.    Why not?

      9          A.    We didn't need to.
    10           Q.    You were able to get closer to the bus

    11    without deploying pepper spray?

    12           A.    Correct.
    13           Q.    But you did deploy pepper spray against the

    14    second group of people; is that right?

    15           A.    Yes.
    16           Q.    Why did you do that rather than just using

    17    your bike?

    18           A.    Because -- how can I say this without -- so
    19    we were able to get through the first group, the
    20    protester -- I don't know how you want me to describe
    21    it -- the first line of folks because we were able to
    22    walk past them with our bikes.         So we were able to
    23    kind of penetrate their line with our bicycles because
    24    there was space behind them.         So we were able to get
    25    through the line and then spread them out with the



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      1   rest of our bike line.        But we can't do that with the
      2   bus because we can't pass them and then spread them
      3   out.
      4          Q.    When you approached the second group of

      5   people who had their arms linked, how far were those

      6   people from the front of the bus?

      7          A.    They were at the front of the bus.
      8          Q.    What did you tell those people, if anything?

      9          A.    I said get -- again, I'm paraphrasing it.           I
    10    don't remember specifically what I told them, but I
    11    told them to immediately get away from the front of
    12    the bus.
    13                 And I know they were close because when I
    14    looked up, the poor bus driver's eyes were like a big
    15    owl, wide open, and she had a very panicked look on
    16    her face.     And keep in mind at this time too, folks
    17    from the crowd are throwing stuff at us and at the bus
    18    because I remember rocks hitting off the -- I could
    19    hear them hitting off the windows.
    20                 And I'm sorry.     Back to your question.       What
    21    did I tell them?      I said, "Get away from the bus
    22    immediately or else you'll be Maced."
    23           Q.    Who was the bus driver?

    24           A.    I don't know.     If I recall correctly, it was
    25    a black female.



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      1          Q.    You mentioned earlier that the drivers of

      2   the Metro buses are just regular civilian drivers,

      3   right?

      4          A.    Correct.
      5          Q.    They're not members of the police force?

      6          A.    You are correct.
      7          Q.    And that was your impression at this point

      8   as well?

      9          A.    Yes.   To my knowledge, there aren't anybody
    10    on the police department trained to drive a bus.
    11           Q.    You sometimes have a GoPro on your bike,

    12    right?

    13           A.    Not on my bike.
    14           Q.    On your uniform?

    15           A.    Yes.
    16           Q.    Where do you put it?

    17           A.    I had it on my chest, strapped to my chest.
    18           Q.    You weren't wearing a GoPro as you

    19    approached the bus after you had dismounted?

    20           A.    I was wearing it.
    21           Q.    Did it record?

    22           A.    It did record later after I turned it on.
    23           Q.    You were wearing it, but it was off?

    24           A.    Correct.
    25           Q.    It had been on earlier that day, right?



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      1          A.    Earlier in the day, yes.       And then when we
      2   were preparing -- I completely -- it's not
      3   something -- a typical piece of equipment that we
      4   carry, and I completely forgot to turn it on at the
      5   first part of this so-called bus incident, but I did
      6   turn it on after it finally occurred to me to turn it
      7   on after we got the first bus out.
      8          Q.    Concentrating on the second group of people

      9   who had their arms linked, were they throwing things

    10    at you?

    11           A.    No.
    12           Q.    Were they engaging in any property damage?

    13           A.    No.
    14           Q.    Were they using force of any kind?

    15           A.    No.
    16           Q.    You mentioned that you turned the GoPro on

    17    after you had extracted the first bus; is that right?

    18           A.    Yes.
    19           Q.    Which way did that first bus go?

    20           A.    The first bus went -- if I recall correct, I
    21    know it went north, and I believe it took a westbound
    22    turn on Clark.
    23           Q.    Did you watch it do that?

    24           A.    I think so.    But as that bus was going, I
    25    then focused my attention on the second bus and while



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      1   keeping an eye on the crowd.
      2          Q.    When you were heading toward the bus after

      3   you had dismounted your bike and were on foot heading

      4   toward the bus, were the buses on or off?            Were they

      5   running?

      6          A.    I don't remember.
      7          Q.    After you had deployed pepper spray against

      8   the second group of people with linked arms, where did

      9   they go?

    10           A.    I believe they scattered.       I think they went
    11    in both directions, but a majority of them went west,
    12    to the west side.
    13           Q.    And what did you do at that point?

    14           A.    We were able to bring the line out, so away
    15    from each other, and the bus was able to have a safe
    16    exit out.
    17           Q.    When you just said "the line," is that the

    18    line of officers?

    19           A.    The line of officers, yes.
    20           Q.    So the line of officers that -- sorry.          The

    21    officers had been in columns, right?

    22           A.    Correct.
    23           Q.    And they were able to fan out into a line?

    24           A.    So the line -- so they were in columns.           So
    25    two columns, two lines, right?         And so when we -- when



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      1   it was safe for the bus to travel forward, we spread
      2   out our line to the east and the west enough for the
      3   bus to travel through the crowd.
      4          Q.    Between the time that you had dismounted

      5   your bike and the time the first bus was able to

      6   safely leave the area, how long would you say passed?

      7          A.    I have no idea.
      8          Q.    Is it fair to say that it was some minutes?

      9          A.    I don't know.
    10           Q.    How long between the time the first bus was

    11    able to leave and the second bus was able to leave?

    12           A.    I'm not sure.
    13           Q.    This is, just to confirm, just Bike Response

    14    Team officers who were extracting the buses; is that

    15    right?

    16           A.    The BRT extracted the first bus.         And if I
    17    recall correctly, once we got to the second bus, all
    18    the CDT members that were on that bus actually got off
    19    of that bus to help us clear the way so that bus can
    20    exit.
    21           Q.    Okay.   So are you saying the first bus was

    22    empty but the second bus was full of CDT officers?

    23           A.    The first bus was full.
    24           Q.    The first bus was full?

    25           A.    Yes.



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      1          Q.    And that bus, when it left the area, it was

      2   still full?

      3          A.    If I recall correctly, yes.
      4          Q.    Okay.   The second bus had been full but

      5   became empty when those CDT officers left?

      6          A.    Correct.
      7          Q.    And the group of CDT officers that were on

      8   the second bus helped to extract the second bus; is

      9   that right?

    10           A.    Yes.
    11           Q.    Okay.   Have you ever put a bike on the bike

    12    rack on the front of the bus?

    13           A.    No.
    14           Q.    Have you ever moved the bike rack from up to

    15    down position or vice versa?

    16           A.    No.
    17           Q.    Do you know how far out from the front of

    18    the bus the bike rack sits?

    19           A.    No.
    20           Q.    Do you know how tall the bike rack is?

    21           A.    No.
    22           Q.    After the group of people with their arms

    23    linked that was closer to the bus had scattered after

    24    you had deployed pepper spray, did you interact with

    25    those people any further?



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      1          A.    No.
      2          Q.    Did you provide any medical aid to those

      3   people?

      4          A.    I wasn't able to.
      5          Q.    Why not?

      6          A.    Because they had disappeared into the crowd
      7   that was throwing stuff at us.         So it was impractical
      8   to provide them with medical aid.
      9          Q.    Can you identify when a person has been

    10    sprayed with pepper spray?

    11                 MS. DUNCAN:    I'll object as to vague.

    12           Q.     (By Ms. Steffan) Can you tell if a person

    13    has been hit with pepper spray?

    14           A.    I can tell when a person could be exhibiting
    15    signs of being pepper sprayed.
    16           Q.    What are the signs of being pepper sprayed?

    17           A.    Some of 'em can include runny nose,
    18    increased mucus production, trouble seeing, red eyes.
    19           Q.    Have you ever been sprayed with pepper

    20    spray?

    21           A.    Not directly.
    22           Q.    Have you been affected by pepper spray

    23    deployed somewhere else?

    24           A.    Yes.
    25           Q.    Did you experience those symptoms?



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      1          A.    Yes.
      2          Q.    When you and the other supervisors were

      3   determining how to accomplish the mission of

      4   extracting the buses, did you anticipate at that point

      5   that you may have to use pepper spray?

      6          A.    It was certainly something that I was
      7   considering in the back of my mind, but it wasn't
      8   something I was actively thinking about doing.
      9          Q.    Did you all have a conversation about what

    10    to do if that happened?

    11           A.    In terms of -- if we were to deploy pepper
    12    spray?
    13           Q.    Uh-huh.

    14           A.    Not necessarily because we're all police
    15    officers, so we all kind of know what to do once the
    16    pepper spray is deployed.
    17           Q.    And what is that?

    18           A.    If needed, render treatment or first aid.
    19           Q.    Do you know if treatment was needed?

    20           A.    I don't know.     They didn't stick around to
    21    ask me for help.
    22           Q.    Did you deploy medical aid to anybody during

    23    the Stockley protest?

    24           A.    Not that I recall.
    25           Q.    What is the treatment?



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      1          A.    For?
      2          Q.    If you've had pepper spray deployed against

      3   you.

      4          A.    Flushing their eyes with cold water or their
      5   face.
      6          Q.    Did the police department on the 15th near

      7   that intersection make cool water available to

      8   civilians, if you know?

      9          A.    Not that I'm aware of.
    10           Q.    You saw a picture of the plaintiff in this

    11    case, Maleeha Ahmad, in the media after this incident;

    12    is that right?

    13           A.    Correct.
    14           Q.    Did you recognize her as a person against

    15    whom you had deployed pepper spray?

    16           A.    Yes.
    17           Q.    Was she in the second line of people with

    18    their arms linked?

    19           A.    She was in front of the bus, directly in
    20    front of the bus.
    21           Q.    Do you recall where she was positioned, on

    22    the left or right side of the bus?

    23           A.    I don't recall specifically.
    24           Q.    Looking at Exhibit 1, can you identify

    25    Maleeha in that picture with the understanding it's a



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      1   grainy picture?

      2          A.    It's an incredibly grainy picture.         It could
      3   be the gal with the black shirt in the multicolored
      4   pants, but I cannot be 100 -- I can't be certain about
      5   that.
      6          Q.    You hadn't met her prior to this incident;

      7   is that right?

      8          A.    No.
      9          Q.    Did you recognize anyone in the chain of

    10    people with their arms linked that you had met prior

    11    to that incident?

    12           A.    No.
    13           Q.    Did you do an I-leads report about your

    14    deployment of pepper spray?

    15           A.    I caused my deployment of pepper spray to be
    16    incorporated into an I-leads report, but I did not do
    17    one.
    18           Q.    When you say you caused it to be

    19    incorporated, what do you mean by that?

    20           A.    I ensured that whoever was the report writer
    21    for the incident incorporated the fact that I deployed
    22    pepper spray.
    23           Q.    Who was the report writer?

    24           A.    I don't recall.
    25           Q.    How did you ensure that that person included



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      1   that fact?

      2          A.    I made sure that my subordinates
      3   communicated the fact that I deployed pepper spray to
      4   the report writer.
      5          Q.    So you said to your subordinates, "Hey, tell

      6   the report writer I deployed pepper spray?"

      7          A.    Yes.    And I may have written a paragraph or
      8   two about my actions that were incorporated into the
      9   report, but I cannot recall if I did indeed do that or
    10    conveyed everything verbally.
    11           Q.    Okay.    Do you recall what subordinate you

    12    told to make sure the report writer incorporated that?

    13           A.    No.
    14           Q.    Was it a group of people or just one person?

    15           A.    It probably was a group of people, but I
    16    don't recall specifically.
    17           Q.    Did you do that during this incident or

    18    after?

    19           A.    This particular incident?
    20           Q.    Yeah.

    21           A.    No.     After.
    22           Q.    During that weekend or after?

    23           A.    During that weekend.
    24           Q.    Were you at the bike office or out on the

    25    street, or do you recall?



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      1          A.    Probably would have been at the bike office.
      2          Q.    You said you may have written paragraphs but

      3   you don't recall?

      4          A.    Correct.
      5          Q.    If you did, where would you have done that,

      6   on a computer?

      7          A.    Uh-huh.    Yes.   Sorry.
      8          Q.    Also at the bike office?

      9          A.    Probably, yes.
    10           Q.    Okay.   If you -- I assume you've written

    11    paragraphs that have been incorporated into I-leads

    12    reports in other situations; is that correct?

    13           A.    Yes.
    14           Q.    When you want to give those paragraphs to

    15    the report writer, how do you do that?           Do you e-mail

    16    it?

    17           A.    E-mail or give them a hard copy or via USB
    18    drive.
    19           Q.    So any of those things might have happened

    20    here; you don't remember?

    21           A.    Correct.
    22           Q.    Do you have a department e-mail address?

    23           A.    I do.
    24           Q.    What training have you received regarding

    25    unlawful assembly?



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      1          A.    Basic academy training.
      2          Q.    Like while you're at the academy or training

      3   done annually after you graduated?

      4          A.    In the police academy.
      5          Q.    Before you became a commissioned officer?

      6          A.    Yes.
      7          Q.    Do you recall what that training was?

      8          A.    No, not specifically.
      9          Q.    What is your understanding of what

    10    constitutes an unlawful assembly?

    11           A.    It's really up --
    12                 MS. DUNCAN:    I'm going to object.       It calls

    13    for a legal conclusion.        Subject to that, you can

    14    answer.

    15           A.    I guess take a common sense -- if we take a
    16    common-sense approach to it, it's when a group of
    17    people are breaking the law.         The assembly is
    18    unlawful.
    19           Q.     (By Ms. Steffan) Do you have an

    20    understanding of how many people there have to be for

    21    it to be an unlawful assembly?

    22           A.    Multiple.
    23           Q.    Is there a minimum number to your

    24    understanding?

    25           A.    I can't answer that.



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      1          Q.    You don't know?

      2          A.    I don't know.
      3          Q.    What is your understanding of who has a

      4   right to declare an unlawful assembly?

      5                MS. DUNCAN:    Again, I'll object.       It calls

      6   for a legal conclusion.        Subject to that, you can

      7   answer.

      8          A.    Again, a common-sense approach.         If I'm a
      9   police officer in the state of Missouri and I see a
    10    group of people breaking the law, I think it's
    11    reasonable that an officer in that situation can
    12    declare the assembly unlawful.
    13           Q.    So any police officer could do so?

    14           A.    I'm taking a common-sense approach here, and
    15    I would imagine so.
    16           Q.    Have you ever declared an unlawful assembly?

    17           A.    I have.
    18           Q.    When did you do that?

    19           A.    During the Stockley protest.
    20           Q.    Have you ever done it on another occasion?

    21           A.    No.
    22           Q.    So to the best of your recollection, you've

    23    declared one unlawful assembly?

    24           A.    Correct.
    25           Q.    When did you declare that unlawful assembly?



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      1          A.    The evening of the 17th in the face of
      2   multiple pieces of property being destroyed downtown.
      3          Q.    Is that 9th and Olive?

      4          A.    Yes.
      5          Q.    Is that where you were when you declared the

      6   unlawful assembly?

      7          A.    I was either at 9th and Olive or the next
      8   street to the north.       I think I said it multiple
      9   times.
    10           Q.    The next street to the north is Locust; is

    11    that right?

    12           A.    Yes.
    13           Q.    So when you declared an unlawful assembly,

    14    you were either at 9th and Olive or 9th and Locust; is

    15    that right?

    16           A.    Or both.
    17           Q.    Or both, okay.     The first time you declared

    18    the unlawful assembly, where were you?

    19           A.    9th and Olive or 9th and Locust and/or.
    20           Q.    Okay.   You were patrolling sort of all over

    21    that area?

    22           A.    Well, we weren't patrolling.        We were -- we
    23    were down there in response to multiple pieces of
    24    property damage.
    25           Q.    When you say "property damage," what are you



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      1   talking about?

      2          A.    Windows being broken, planters being
      3   shattered.
      4          Q.    When you say "shattered," do you mean broken

      5   into a bunch of different pieces?

      6          A.    Yes.
      7          Q.    Okay.   We're talking about concrete

      8   planters?

      9          A.    Correct.
    10           Q.    You said you had -- correct me if I'm wrong.

    11    You said you'd been called to that area to respond to

    12    the property damage?

    13           A.    We weren't called.      We went to that area in
    14    response to property damage.
    15           Q.    How did you know to go there?

    16           A.    Because we were watching a live stream of
    17    record -- or live streaming from that group of people
    18    that were involved in the destruction of property
    19    throughout multiple parts of downtown.
    20           Q.    The people who were destroying property were

    21    live streaming their destruction?

    22           A.    I don't think the person that was -- live
    23    streaming -- I don't recall them actually damaging
    24    property, but I recall the live streamers recording or
    25    videoing folks destroying property.



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      1           Q.   I see.    And you were watching the live

      2   stream; is that right?

      3           A.   Yes.
      4           Q.   On the live stream, how many people did you

      5   see destroying property?

      6           A.   I don't recall specifically.
      7           Q.   More than 10, less than 10?

      8           A.   I don't know.
      9           Q.   More than one?

    10            A.   More than one.
    11           Q.    More than two?

    12            A.   Yes.
    13           Q.    More than five?

    14            A.   I can't say specifically after that.
    15           Q.    Okay.    More than two but you're not sure how

    16    many?

    17            A.   Correct.
    18           Q.    Was it a hundred?

    19            A.   It depends on what part you're talking
    20    about.
    21           Q.    When you were watching the live stream, how

    22    many people did you see on the live stream destroying

    23    property?

    24            A.   A lot of people.
    25           Q.    A lot of people?



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      1          A.    A lot of people.
      2          Q.    It might have been as many as a hundred?

      3          A.    I don't necessarily think it was --
      4                MS. DUNCAN:     I'm going to object to asked

      5    and answered.       He already said that it's a lot of

      6    people, and he doesn't know the exact number.            Subject

      7    to that, you can answer.

      8          A.    It was a lot of people.
      9          Q.     (By Ms. Steffan) You don't know if it was

     10    more or less than a hundred?

     11          A.    Correct.
     12          Q.    Okay.    You said you declared an unlawful

     13    assembly either at 9th and Olive or 9th and Locust or

     14    both; is that right?

     15          A.    Correct.
     16          Q.    How do you convey that you have declared an

     17    unlawful assembly?

     18          A.    How did I, or how does one go about doing
     19    it?
     20          Q.    I'll ask first how did you convey that you

     21    had declared an unlawful assembly?

     22          A.    I yelled.
     23          Q.    What did you say?

     24          A.    I said, "This is an unlawful assembly.
     25    Leave the area immediately."



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      1          Q.    Were you with other officers at the time?

      2          A.    I was.
      3          Q.    How many other officers?

      4          A.    Enough to have struck a line across Olive,
      5    but I don't recall how many specifically.
      6          Q.    Were they members of the Bicycle Response

      7    Team?

      8          A.    Yes.
      9          Q.    Also the Bike Unit?

     10          A.    Correct.
     11          Q.    Were you commanding those officers?

     12          A.    There was a supervisor with the officers,
     13    but I wasn't nec- -- I guess I was in charge of
     14    people, but I guess at the time it depends on how you
     15    define commanding.
     16          Q.    Fair enough.     You are a supervisor, but you

     17    were not those officers' supervisor?

     18          A.    Again, I was kind of the intermediary
     19    between Lieutenant Boyher and other sergeants and
     20    squads.    So I certainly had the authority to supervise
     21    those officers.
     22          Q.    Do you recall what other supervisor was with

     23    you at the time you declared an unlawful assembly?

     24          A.    No.
     25          Q.    But there was another supervisor?



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      1          A.    There probably was.
      2          Q.    Okay.    When you declared the unlawful

      3    assembly, what, if anything, was the response from

      4    non-officers?

      5          A.    A lot of cussing.
      6          Q.    There were civilian pedestrians nearby when

      7    you declared the unlawful assembly?

      8          A.    Yes.
      9          Q.    Were they the people you had seen on the

     10    live stream destroying property?

     11          A.    I couldn't tell specifically.
     12          Q.    How close was the destroyed property to

     13    where you declared the unlawful assembly?

     14          A.    Well, it depends on which destroyed property
     15    you're talking about.
     16          Q.    Earlier you mentioned broken windows, right?

     17          A.    Correct.
     18          Q.    Was that on Olive?

     19          A.    Yes.
     20          Q.    Okay.

     21          A.    But that is not the property we saw being
     22    destroyed on live stream.
     23          Q.    I see.    What property did you see being

     24    destroyed on the live stream?

     25          A.    There was -- Olive in front of the library



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      1    was blocked off, the main library I think between 13th
      2    and 14th.      And like a concert venue with tents and
      3    stuff, the group of folks had went through there
      4    essentially like Tasmanian devils and destroyed the
      5    whole thing.
      6            Q.    There were chairs set up; is that right?

      7            A.    Chairs, tables, tents I think were
      8    overturned.      And a lot of that material was drug out
      9    into Tucker in an attempt to block traffic on Tucker.
     10          Q.      You didn't declare an unlawful assembly at

     11    Olive and 13th?

     12            A.    No.
     13          Q.      Did the property damage at that event and

     14    the broken windows on Olive near 9th happen

     15    simultaneously, or were they separate events in your

     16    mind?

     17            A.    It was -- in my mind, it was one continuous
     18    event.       It started with the destruction of property at
     19    the library and then continued east on Olive.
     20          Q.      I see.   Okay.   So a group started in the

     21    west and went east down Olive and destroyed property

     22    as they went; that's what you think happened?

     23            A.    Correct.
     24          Q.      Okay.    When you declared the unlawful

     25    assembly, how many civilian people were around would



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      1    you estimate?

      2          A.    Between 50 and 100 maybe.
      3          Q.    At the time you declared the unlawful

      4    assembly, were you seeing people not on the live

      5    stream but with your own eyes doing property damage?

      6          A.    As we -- I heard it shortly before declaring
      7    unlawful assembly.      I never saw anybody break windows,
      8    but I know others that I was with did.           And I could
      9    hear it as I was coming up 9th Street.
     10          Q.    And as you were coming up 9th Street, you

     11    were in a line with other BRT officers?

     12          A.    We weren't in a line at that point.          There
     13    was some concern that -- because the bike office at
     14    the time was at that block of 9th Street, and there
     15    was concern the protesters were heading there to
     16    destroy our bike office and our parked cars.
     17                And so we essentially -- there was a race to
     18    -- once we kind of figured out -- because, again, we
     19    were watching the live stream, so we didn't actually
     20    -- we weren't close to the destruction of property
     21    that occurred in front of the library.           We were closer
     22    to headquarters because there was a larger peaceful
     23    protest that had dissolved.
     24                And then the other folks that continued on
     25    to destroy property then kind of started heading



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      1    west -- I'm sorry -- east on Olive.
      2                 So as we -- a group of folks on bikes and
      3    then a group of protesters rounded 9th Street at the
      4    same time.     In fact, a couple -- I think a bottle was
      5    thrown at us, but that's why we wanted to strike a
      6    line to keep our office from getting damaged or our
      7    cars from getting burnt or damaged or whatever.
      8            Q.   If I understand correctly, your line was

      9    north/south?

     10            A.   The line?
     11          Q.     The line of officers when you did strike the

     12    line?

     13            A.   It was across -- no.      It was east/west.      So
     14    across 9th Street at Olive.
     15          Q.     I see.   South of that intersection?

     16            A.   On the south side of the intersection.
     17          Q.     Okay.    And you wanted to prevent people from

     18    going south?

     19            A.   Correct.
     20          Q.     Okay.    When you had told people to leave the

     21    area, where did you want them to leave from?            What was

     22    the area to your line?

     23            A.   That immediate part of downtown.
     24          Q.     And what does that mean, "that immediate

     25    part of downtown"?



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      1          A.    To me or to the folks I was conveying the
      2    message to?
      3          Q.    To you.

      4          A.    To me, it was away from the area that was
      5    being destroyed.
      6          Q.    So could a person then stand at 9th and

      7    Locust?

      8          A.    Not when we got up there to push the crowd
      9    north.
     10          Q.    What about 9th and St. Charles?

     11          A.    That -- as I said that -- if I were a
     12    civilian and I was told to leave the area, I would get
     13    out of downtown.      That would be the message I would
     14    take from that.
     15          Q.    So if a person went and stood at 9th and St.

     16    Charles, would they have complied with your

     17    instruction?

     18          A.    Not in a common-sense way, no.
     19          Q.    How about 9th and Washington?

     20          A.    Again, if I were a civilian and I was told
     21    by a police officer to leave the area, I would get out
     22    of downtown.
     23          Q.    So would a person who was at 9th and

     24    Washington have complied with your instructions?

     25          A.    That's -- I'm taking a common-sense approach



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      1    here, and again, that's still downtown.           I would have
      2    left.
      3          Q.    So no, they would not have complied with

      4    your instruction?

      5          A.    No.
      6          Q.    How about 10th and Washington?

      7          A.    Still downtown.
      8          Q.    How about the City Museum, 14th and

      9    Washington?

     10          A.    That's still downtown.
     11          Q.    So they would not have complied with your

     12    instruction if they went to 14th and Washington?

     13          A.    No.
     14          Q.    Where does downtown end?

     15          A.    Do you want the physical boundaries of
     16    downtown?
     17          Q.    Yeah.

     18          A.    The river, Cole to the north, Chouteau to
     19    the south.     I guess the western border of downtown
     20    itself is 14th.      And then I believe it's 40 to the
     21    south.     I don't think it goes down much Chouteau.
     22          Q.    So if a person went to 18th and Washington,

     23    they would have complied with your instruction?

     24          A.    I would say that's reasonable.
     25          Q.    Okay.    Is there a time limit for how long



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      1    people have to comply with your instruction to leave

      2    the area?

      3          A.    For my instructions?       A time limit in terms
      4    of them leaving or leaving and coming back?
      5          Q.    If you say, as you said, when you declared

      6    the unlawful assembly, "leave the area," how long

      7    would you give a person to comply with that

      8    instruction before taking further action?

      9          A.    A reasonable amount of time.         And it of
     10    course depends on the circumstances.
     11          Q.    If the person has made action toward leaving

     12    or not, for example?

     13          A.    Sure.
     14          Q.    Okay.    Was everyone who was nearby when you

     15    declared the unlawful assembly a person who was or had

     16    been destroying property?

     17          A.    Not everyone.
     18          Q.    For the people who were not destroying

     19    property, what were they doing that made them part of

     20    an unlawful assembly?

     21          A.    Again, taking a common-sense approach, those
     22    folks that were probably not destroying property were
     23    with a group that was destroying property and also
     24    walking in the street and blocking sidewalks.
     25          Q.    Were they doing anything other than those



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      1    things that made them part of an unlawful assembly?

      2          A.    In terms -- well, some people in the group,
      3    again, I don't know if I mentioned this yet or not,
      4    but continued north on Olive and continued to destroy
      5    property and put stuff into the street.
      6          Q.    North on 9th?

      7          A.    Yes.   9th.    Thank you.
      8          Q.    That's after you declared the unlawful

      9    assembly?

     10          A.    Correct.
     11          Q.    At the time you declared the unlawful

     12    assembly, for the people who had not been destroying

     13    property, other than the things you mentioned, were

     14    they doing anything else that made them part of an

     15    unlawful assembly?

     16          A.    Again, they were with the same group of
     17    people that were destroying property, and that group
     18    of people was walking in the middle of the street and
     19    blocking sidewalks.
     20          Q.    Other than those three things, were they

     21    doing anything else?

     22          A.    They were yelling and screaming at us
     23    causing essentially a disturbance, but -- it was a
     24    pretty active group of folks.
     25          Q.    Other than that, those things that you've



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      1    now mentioned, were they doing anything else that made

      2    them part of an unlawful assembly?

      3          A.    Not that I can think of at this time.
      4          Q.    Did you see any journalists when you

      5    declared an unlawful assembly?

      6          A.    I wasn't looking for journalists, but no, I
      7    didn't see any.
      8          Q.    Did you use any chemical agents when you

      9    declared the unlawful assembly or thereafter?

     10          A.    No.
     11          Q.    Did you make any arrests?

     12          A.    No.
     13          Q.    Which way did you want the pedestrians to

     14    go?   You didn't want them to go south; is that right?

     15          A.    Correct.
     16          Q.    Which way did you want them to go?

     17          A.    North, east or west.       It didn't matter to
     18    me.
     19          Q.    Did some people comply with your order?

     20          A.    Yes.
     21          Q.    Would you say most people or not most

     22    people?

     23          A.    Some people.     I would say not most people.
     24          Q.    Okay.    For the people who did not comply

     25    with your instructions, what did you do next?



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      1          A.    They continued to -- that's one of the
      2    reasons why we pushed past Schnucks and pushed them
      3    north, but many people kind of hung around and then --
      4    many people hung around, and then they slowly
      5    dispersed.
      6          Q.    Did you order people to disperse; is that

      7    what your instruction was to do?

      8          A.    My instruction was to leave the area.
      9          Q.    Is that a dispersal order?

     10          A.    I guess in a common-sense way, yes.
     11    Common-sense approach, yes.
     12          Q.    Do you have an understanding of who has the

     13    right to issue dispersal orders?

     14                MS. DUNCAN:     Object to the legal conclusion.

     15    Subject to that, you can answer.

     16          A.    I think we talked about this already.
     17    Again, as a police officer in the city of Missouri,
     18    I'm approaching this with a common sense -- if any
     19    police officer sees a group acting unlawfully, it's my
     20    belief that they can declare an unlawful assembly.
     21          Q.     (By Ms. Steffan) Okay.        So are the

     22    declaration of an unlawful assembly and a dispersal

     23    order the same thing to your mind, or are they

     24    different things?

     25          A.    I guess we're talking about legal terms but



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      1    sure.
      2          Q.    They're the same thing?

      3          A.    I guess I can't really answer that.          I don't
      4    know the definition specifically of those.
      5          Q.    Let me ask it this way.        Can you order

      6    somebody to disperse if they are not part of an

      7    unlawful assembly?

      8          A.    Probably not.
      9          Q.    Can you tell people they are part of an

     10    unlawful assembly without ordering them to disperse?

     11          A.    Now are you asking my legal understanding?
     12          Q.    I'm not asking you for legal conclusions.

     13    I'm just asking for your understanding as an officer

     14    who enforces the law.

     15          A.    So what was the question again?
     16          Q.    Can you declare an unlawful assembly without

     17    ordering people to disperse?

     18          A.    I don't know.
     19          Q.    You've never done that?

     20          A.    No.
     21          Q.    Okay.    Have you ever ordered people to

     22    disperse outside of the context of an unlawful

     23    assembly?

     24          A.    No.
     25          Q.    Okay.    Other than being part of an unlawful



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      1    assembly, are there other things that would justify an

      2    order to disperse?

      3          A.    Sure.    If folks are intruding upon maybe a
      4    homicide scene.      And I guess even in this context we
      5    wouldn't be asking them to disperse; we would simply
      6    be asking the folks to back up.         So I don't know if
      7    that's the same or not.
      8          Q.    A dispersal order is something different

      9    from ordering people to back up; is that what you're

     10    saying?

     11          A.    Perhaps.    I don't know.
     12          Q.    Have you ever received any training about

     13    dispersal orders?

     14          A.    No.
     15          Q.    You may have answered this, but just so I'm

     16    clear, have you issued dispersal orders other than

     17    this time that we've talked about at 9th and Olive or

     18    --

     19          A.    No.    I can't say that I have.
     20          Q.    Have you witnessed other officers issuing

     21    dispersal orders?

     22          A.    Yes.
     23          Q.    Did you issue -- I'm sorry.        Did you witness

     24    other officers issuing dispersal orders during the

     25    Stockley protest?



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      1            A.   Yes.
      2            Q.   What officers did you see issue dispersal

      3    orders?

      4            A.   Sergeants Rossomanno and Jemerson.
      5    R-O-S-S-O-M-A-N-N-O.
      6            Q.   That's a tough name.      You said Sergeant

      7    Rossomanno and who else?

      8            A.   Sergeant Jemerson.
      9            Q.   Other than Sergeants Rossomanno and

     10    Jemerson, did you witness any other officers issuing

     11    dispersal orders during the Stockley protest?

     12            A.   Lieutenant Sachs may have at some point as
     13    well.
     14          Q.     You might have seen him, or you might not

     15    have?

     16            A.   I might have heard him.       I don't necessarily
     17    know that I saw him do it.
     18          Q.     Did you witness other officers declaring an

     19    unlawful assembly during the Stockley protest?

     20            A.   Sergeants Rossomanno, Jemerson and
     21    Lieutenant Sachs.
     22          Q.     Other than those people, did you witness any

     23    other officers declaring an unlawful assembly during

     24    the Stockley protest?

     25            A.   Not that I can recall.



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      1          Q.    I understand you did not use chemical agents

      2    against people after you had declared an unlawful

      3    assembly near 9th and Olive, correct?

      4          A.    Correct.
      5          Q.    Did you nonetheless warn people that you

      6    might or no?

      7          A.    I don't recall specifically.
      8          Q.    Do you know whether there are things that

      9    have to be included in a dispersal order?

     10          A.    I'm not sure.
     11          Q.    When you heard -- let's take Sergeant

     12    Rossomanno first.      When you heard Sergeant Rossomanno

     13    declare an unlawful assembly, did you see him do that

     14    verbally or over a loudspeaker or some other way?

     15          A.    Over a loudspeaker.
     16          Q.    Is that the loudspeaker on a vehicle?

     17          A.    Yes.
     18          Q.    Is that the BEAR or some other vehicle?

     19          A.    Not the BEAR.     I don't know that Sergeant
     20    Rossomanno was ever in the BEAR.         But -- I never saw
     21    him in the BEAR.
     22          Q.    Was it a regular cruiser or -- what vehicle

     23    has the loudspeaker on it?

     24          A.    All -- most police cars have loudspeakers.
     25          Q.    Okay.    Could have been any police car that



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      1    he was in?

      2          A.    Correct.
      3          Q.    Okay.    What about Sergeant Jemerson, did you

      4    see him issue a dispersal order or declare an unlawful

      5    assembly verbally or over a loudspeaker?

      6          A.    Verbally.     He walked up and down Tucker
      7    telling people to leave.
      8          Q.    What about Lieutenant Sachs?

      9          A.    He may have been on the BEAR, but I can't
     10    recall specifically.       I remember hearing his voice,
     11    but I don't --
     12          Q.    On a loudspeaker or verbally?

     13          A.    I believe so.
     14          Q.    On a loudspeaker?

     15          A.    I can't say for sure.
     16          Q.    Sure.    Taking Sergeant Rossomanno first, do

     17    you recall where he issued dispersal or unlawful

     18    assembly orders?

     19          A.    One was off of Locust and 11th.         That's
     20    where it began.
     21          Q.    Was that on September 15th?

     22          A.    I believe it was on the 17th.
     23          Q.    In the evening?

     24          A.    Yes.
     25          Q.    Do you recall him issuing dispersal orders



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      1    or declaring an unlawful assembly at any other time

      2    and place?

      3          A.    Yes.
      4          Q.    Where else?

      5          A.    On the 15th near the old police
      6    headquarters.
      7          Q.    Which is where?

      8          A.    At Clark and Tucker on the southeast corner.
      9          Q.    In the daytime or in the evening?

     10          A.    In the daytime.
     11          Q.    Afternoon; do you know?

     12          A.    It was the afternoon.       After the bus
     13    incident.
     14          Q.    How about any other times and places where

     15    you heard or saw Sergeant Rossomanno issue unlawful

     16    assembly or dispersal orders?

     17          A.    I can't recall at this point.
     18          Q.    Taking the 15th first, do you know what

     19    prompted his decision to declare an unlawful assembly?

     20                MS. DUNCAN:     Object as to speculation.

     21    Subject to that, you can answer.

     22          A.    Destruction of police vehicles in front of
     23    the old police headquarters.
     24          Q.     (By Ms. Steffan) Anything else?

     25          A.    Not that I can recall.



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      1          Q.     Taking his declaration of an unlawful

      2    assembly the evening of the 17th at Locust and 11th,

      3    do you know what prompted that decision?

      4          A.      The destruction of -- I can't say for sure.
      5                 MS. DUNCAN:    Again, objection.      Speculation.

      6          Q.      (By Ms. Steffan) If you don't know, that's

      7    fine.      I'm just wondering if you know.       Were you

      8    working both of those times?

      9          A.      Yes.
     10          Q.     Turning to Sergeant Jemerson, where and when

     11    did you hear or see him issue dispersal or unlawful

     12    assembly orders?

     13          A.      I saw him and heard him issuing unlawful
     14    assembly orders and dispersal orders as he walked up
     15    and down Tucker and told groups, individual groups, to
     16    leave.
     17          Q.     Was that on the 17th?

     18          A.      On the 17th, yes.
     19          Q.     In the evening?

     20          A.      Yes.
     21          Q.     What prompted his decision to issue those

     22    orders, if you know?

     23                 MS. DUNCAN:    Object to speculation.

     24          A.      I can't say for sure.     Sorry.
     25          Q.      (By Ms. Steffan) Do you have a belief?



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      1          A.      My belief is that it was probably connected
      2    to the destruction of property and people being in the
      3    street, blocking streets and the sidewalks.
      4          Q.     Do you know -- if you don't know, that's

      5    fine.      Do you know if you need to issue a dispersal

      6    order multiple times before taking action?

      7          A.      I don't know.
      8          Q.     Do you know if there is a minimum volume at

      9    which you need to issue a dispersal order?

     10          A.      No.
     11          Q.     No, you don't know?

     12          A.      I don't know.
     13          Q.     When you heard Sergeant Rossomanno and

     14    Jemerson issue the orders you've just described, do

     15    you know if they told people where to go?

     16          A.      I don't recall.
     17          Q.     How about Lieutenant Sachs, you thought you

     18    might have heard him issue orders?

     19          A.      Correct.
     20          Q.     Do you recall when or where?

     21          A.      No.
     22          Q.     Are you familiar with Special Order 1-01?

     23    It's called Chemical Agents and Pepper Mace.

     24          A.      A little bit.
     25          Q.     Is it your understanding that that order



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      1    regulates when you can use chemical agents and pepper

      2    Mace while on duty?

      3           A.   Yes.
      4           Q.   What is your understanding of what it says?

      5                MS. DUNCAN:     I'm going to object.       The

      6    special order speaks for itself.         Subject to that, you

      7    can answer.

      8           A.   What was the question again?
      9           Q.    (By Ms. Steffan) What is your understanding

     10    of what Special Order 1-01 called Chemical Agents and

     11    Pepper Mace says about when you can use chemical

     12    agents and pepper Mace while on duty?

     13           A.   What is my understanding?        Again, we touched
     14    a little bit on this a little bit earlier about use of
     15    chemical spray.      It's a --
     16           Q.   I'll stop you there.       You mentioned that it

     17    was part of the use-of-force continuum; is that right?

     18           A.   Sure.
     19           Q.   Okay.    Is this special order part of the

     20    orders that regulate the use-of-force continuum?

     21           A.   Yes.    Since it incorporates the use of Mace,
     22    yes.
     23           Q.   Okay.    Is there a difference between Mace

     24    and chemical agents?

     25           A.   It's my belief those terms can be used



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      1    interchangeably, but "chemical agents" I think is a
      2    more encompassing term.
      3          Q.     So Mace is a chemical agent, but chemical

      4    agents include things besides Mace; is that right?

      5          A.     Correct.   That's my understanding.        And I
      6    should say that Mace and pepper spray, at least for
      7    our police department, those terms are used
      8    interchangeably.
      9          Q.     Thinking back to prior to the Stockley

     10    protests, did you consider your department-issued

     11    handheld Mace to be a chemical agent?

     12          A.     Yes.
     13          Q.    Do you believe that you need to issue a

     14    warning before you deploy your handheld Mace against a

     15    person?

     16          A.     No.
     17          Q.    Do you think that there are any special

     18    restrictions on when you can use Mace against a

     19    protester?

     20          A.     Any special restrictions?
     21          Q.    Yeah, different from a person who is not

     22    engaged in a protest.

     23          A.     Any special restrictions?
     24                MS. DUNCAN:     Can you be more specific?        I'll

     25    object as to vague.



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      1          Q.     (By Ms. Steffan) Are there any different

      2    rules for when you can deploy Mace against a protester

      3    versus a non-protester?

      4          A.    I think that there's different rules when
      5    Mace is used to disperse crowds rather than on an
      6    individual basis to address individuals like I did.
      7          Q.    Okay.    Can you use handheld Mace to disperse

      8    crowds?

      9          A.    I don't believe so.       But I am not sure.
     10          Q.    Have you ever used a chemical agent to

     11    disperse a crowd?

     12          A.    No.
     13          Q.    Did you see officers using chemical agents

     14    to disperse a crowd during the Stockley protests?

     15          A.    No.
     16          Q.    Did you see officers use foggers?          You said

     17    no earlier; is that correct?

     18          A.    Correct.
     19          Q.    Did you see officers use pepper pellets?

     20          A.    No.
     21          Q.    Did you see officers use smoke bombs?

     22          A.    No.
     23          Q.    How about tear gas?

     24          A.    No.
     25          Q.    Did you see officers carrying launchers?



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      1          A.    Launchers?
      2          Q.    Pepper-ball launchers?

      3          A.    No.
      4          Q.    Did you ever see the BEAR traveling around

      5    during the protests?

      6          A.    Yes.
      7          Q.    Where did you see it?

      8          A.    On which days?
      9          Q.    Let's start with the 15th.        Did you see it

     10    on the 15th traveling around, not stationary, but

     11    traveling around?

     12          A.    I saw it once way off in the distance in the
     13    Central West End.
     14          Q.    How about the 17th, did you see it?

     15          A.    Yes.
     16          Q.    When did you see it on the 17th?

     17          A.    At some point near the intersection of
     18    Tucker and Market.
     19          Q.    On both of those occasions -- I can take

     20    them separately.      When you saw it in the distance in

     21    the Central West End, was that during the day or at

     22    night?

     23          A.    At night.
     24          Q.    What about the other time near Tucker and

     25    Market?



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      1          A.    In the evening time, at night I guess.
      2          Q.    Are you familiar with the term "kettle"?

      3          A.    I am now.
      4          Q.    Okay.    If I use that term to describe what

      5    happened at Tucker and Washington on the evening of

      6    September 17th, 2017, will you understand what I'm

      7    talking about?

      8          A.    Sure.
      9          Q.    Okay.    You were working the evening of

     10    September 17th, 2017, correct?

     11          A.    Yes.
     12          Q.    You were still with your bike; is that

     13    right?

     14          A.    Correct.
     15          Q.    At the time the kettle took place, where

     16    were you?

     17                MS. DUNCAN:     I'm going to object on the

     18    record just to the term "kettling" because I don't

     19    think it accurately describes pro-law enforcement what

     20    that situation was.       Subject to that, you can answer.

     21          A.    What was the question again?
     22                MS. DUNCAN:     Sorry.    That was long.

     23          Q.     (By Ms. Steffan) With that objection in

     24    mind and with your understanding of the term kettle as

     25    I'm using it, at the time that incident took place at



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      1    Tucker and Washington on the evening of

      2    September 17th, 2017, where were you?

      3           A.   At what point?
      4           Q.   Were you ever at the intersection of Tucker

      5    and Washington on the evening of September 17th?

      6           A.   Yes.
      7           Q.   Were you part of one of the lines that

      8    officers struck surrounding the streets that are part

      9    of that intersection?

     10           A.   I wasn't a part, but I was behind one of the
     11    lines.
     12           Q.   Okay.    What line were you behind?

     13           A.   The line of bicycles.
     14           Q.   And where were the bicycles stationed?

     15           A.   On the east side of Washington.         On the east
     16    side of Tucker rather across Washington.
     17           Q.   Okay.    You agree that there was a mass

     18    arrest at that intersection?

     19           A.   Yes.
     20           Q.   When you had -- when that line had been

     21    struck across Washington, you were directly behind it;

     22    is that correct?

     23           A.   Yes.
     24           Q.   Were you letting pedestrians go by you or

     25    not?



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      1          A.    At some point we were, but at some point we
      2    weren't.
      3          Q.    Okay.    So you were earlier, and then as the

      4    evening progressed, you stopped allowing pedestrians

      5    to go east on Washington?

      6          A.    Correct.
      7          Q.    Do you know what time you stopped allowing

      8    pedestrians to go by you?

      9          A.    No.
     10          Q.    Why did you stop allowing pedestrians to go

     11    by you?

     12          A.    Because we were advised -- if I recall
     13    correctly, we were advised that there was gonna be
     14    arrests made, and we were not --
     15                So there was a couple reasons.         One was
     16    safety because we don't want people behind us,
     17    especially when our attention is directed forward.
     18    But it was my understanding that there was -- arrests
     19    were going to be made.
     20          Q.    How did you gain that understanding?

     21          A.    On the radio.
     22          Q.    Who communicated that on the radio?

     23          A.    I believe it was Colonel Leyshock, but I
     24    can't recall specifically.
     25          Q.    So thinking back to the point after you had



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      1    stopped permitting pedestrians to go by you, how soon

      2    after that point were the arrests effectuated?

      3          A.    I don't know.
      4          Q.    How long were you behind that line?

      5          A.    I don't know.
      6          Q.    Could you see arrests being effectuated from

      7    where you were standing?

      8          A.    Yes.
      9          Q.    How many arrests did you see happen?

     10          A.    There were a lot.      But I can't even begin to
     11    put a number on it.
     12          Q.    What unit was arresting people?

     13          A.    There were lots of different units.
     14          Q.    Including what?

     15          A.    Members of the CDT team and then I believe
     16    members of the bureau, but I can't say for sure.
     17          Q.    What's the bureau?

     18          A.    Detective bureau.
     19          Q.    How far were you from where the arrests were

     20    being effectuated?

     21          A.    At what time?
     22          Q.    When they were happening.

     23          A.    I started off behind the line.
     24          Q.    You moved around?

     25          A.    Correct.



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      1          Q.    Did you come in front of the line?

      2          A.    At some point I think I did.
      3          Q.    Okay.

      4          A.    But that was after most of the people had
      5    been arrested and their hands had been secured behind
      6    their back.
      7          Q.    From your vantage point, either behind or in

      8    front of that line across Washington, did you see any

      9    officers deploy chemical agents?

     10          A.    Yes.
     11          Q.    What did you see?

     12          A.    I don't recall specifically.         I remember
     13    Mace being sprayed at least once or twice.
     14          Q.    Okay.    Other than Mace, did you see any

     15    chemical agents be deployed?

     16          A.    No.
     17          Q.    Did you see officers use any impact weapons?

     18          A.    No.
     19          Q.    Did you see officers carrying batons?

     20          A.    Yes.
     21          Q.    Did you see officers hit their batons

     22    against their shields?

     23          A.    I remember hearing it.
     24          Q.    Did you see officers hit their batons

     25    against the ground?



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      1          A.    No.   And I'll -- let me rephrase that and
      2    correct what I just said about hitting their batons
      3    against their shields.
      4                If I recall correctly, officers were either
      5    issued a shield or a baton.        So my understanding is
      6    that officers were clapping their batons against their
      7    like shin guards, not their shields.
      8          Q.    Because they weren't holding a shield at the

      9    same time?

     10          A.    Correct.
     11          Q.    Why would an officer be given a baton but

     12    not a shield?

     13                MS. DUNCAN:     I'll object as speculation.

     14          Q.     (By Ms. Steffan) If you know.

     15                MS. DUNCAN:     Subject to that, you can

     16    answer.

     17          A.    Maybe because there's not enough.          I don't
     18    know.
     19          Q.     (By Ms. Steffan) Did you see any of the

     20    arrestees engaged in violent activity?

     21          A.    I saw -- one kinda comes to mine.          There
     22    was -- one of the guys that was closest to us,
     23    apparently he wasn't obeying commands to bring his
     24    hands around to handcuffing position.          And I saw him
     25    actively resisting, and then I remember one of the



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      1    officers yelling that he had knives on him.
      2          Q.     When you say he was "actively resisting,"

      3    what does that mean?

      4          A.     So he was rolling around -- I don't think he
      5    was throwing punches, but he wouldn't bring his hands
      6    back.      And again, since he's armed, that puts those
      7    officers in a very precarious situation.
      8          Q.     Did you see the knives he had?

      9          A.     No.
     10          Q.     You just heard afterward?

     11          A.     I heard during.
     12          Q.     You heard during.     The officer said, "He has

     13    knives?"

     14          A.     Yeah.   "He's got a knife; he's got a knife"
     15    or "He has knives; he has knives."          Something along
     16    those lines.       It's a very dangerous situation to be
     17    in.
     18          Q.     Other than that man, did you see anyone else

     19    engaged in violent activity?

     20          A.     No.   I know that -- I saw some people that
     21    were probably resisting arrest, but I was focused on
     22    my bike line and then also behind us because we didn't
     23    have anybody behind us.
     24          Q.     There was no second line behind you?

     25          A.     Correct.



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      1          Q.    Okay.    Were there pedestrians behind you?

      2          A.    No.   Not that I -- not that I recall.
      3          Q.    Were there any pedestrians in front of you

      4    that were not arrested to your knowledge?

      5          A.    Not to my direct knowledge.
      6          Q.    You just mentioned that you saw some people

      7    who were probably resisting arrest.          What makes you

      8    think that they were resisting arrest?

      9          A.    Because from my vantage point, it looked
     10    like officers were having difficulty handcuffing the
     11    individuals.
     12          Q.    What was causing the difficulty?

     13          A.    I don't know.
     14          Q.    It was just taking a long time; is that what

     15    you're saying?

     16          A.    No.   Because there -- I could hear orders
     17    being given, "Put your hands behind your back; put
     18    your hands behind your back," and then there was an
     19    obvious struggle.
     20          Q.    Was this before or after you saw pepper

     21    spray be deployed?

     22          A.    After or during.
     23          Q.    Were you close enough that you could see how

     24    much space was between each arrestee?

     25          A.    How much space was in -- I guess to a



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      1    certain extent.
      2          Q.    Did you hear the officers give the

      3    soon-to-be arrestees any commands?

      4          A.    I believe a command was given for the
      5    arrestees to sit on the ground.
      6          Q.    Did you hear that?

      7          A.    I'm pretty sure that I heard that.
      8          Q.    Okay.    Other than to sit on the ground, did

      9    you hear the officers give any commands?

     10          A.    Well, we discussed that there were commands
     11    given to -- for individuals to put their hands behind
     12    their back.
     13          Q.    Other than you probably hearing the command

     14    to sit on the ground and officers telling individuals

     15    to put their hands behind their back, did you hear any

     16    other commands be given?

     17          A.    Not that I remember right now.
     18                MS. DUNCAN:     Can we take a break?

     19                MS. STEFFAN:     Sure.

     20                       (Recess.)

     21          Q.     (By Ms. Steffan)      Sergeant, before the

     22    break, we were talking about what I called the kettle

     23    at Tucker and Washington?

     24          A.    Yes.
     25          Q.    You understand what I mean when I use that



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      1    term?

      2            A.   Yes.
      3            Q.   But you would give it a different term; is

      4    that right?

      5            A.   Correct.
      6            Q.   What would you call that incident?

      7            A.   I would characterize that as a controlled
      8    mass-arrest maneuver.
      9            Q.   I understand what mass arrest means or at

     10    least I understand that to mean lots of people

     11    arrested at the same time.        What does "controlled mass

     12    arrest" mean?

     13            A.   Pretty much what you said.
     14          Q.     Just lots of people arrested at the same

     15    time?

     16            A.   Correct.
     17          Q.     And what is a maneuver?

     18            A.   The encirclement of the subjects.
     19          Q.     So you agree the subjects were encircled?

     20    There were no routes of egress, is that right, at the

     21    time of the arrests?

     22            A.   At the time of the arrests, yes.
     23          Q.     And you don't know how long between the time

     24    the routes of egress were cut off and the arrests

     25    themselves, do you?



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      1          A.     No.
      2          Q.     Okay.   Have you worked at other protests in

      3    the city besides the protest after the Stockley

      4    verdict?

      5          A.     Yes.    After -- yes.    Yes.
      6          Q.     Okay.   At any time during your tenure, you

      7    have worked at other protests?

      8          A.     Yeah.
      9          Q.     Do you recall how many other protests you've

     10    worked at?

     11          A.     Dozens.
     12          Q.    Did you work at post-Ferguson protests?

     13          A.     Yes.
     14          Q.    Did you work at an area of South Grand in

     15    November 2014?

     16          A.     Yes.
     17          Q.    Did you work near Arsenal and Grand?

     18          A.     Yes.
     19          Q.    Did you deploy any chemical agents at that

     20    intersection in November 2014?

     21          A.     No.
     22          Q.    Did you see other officers do so?

     23          A.     Yes.
     24          Q.    How many times?

     25          A.     I believe there was SWAT officers that had



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      1    deployed some -- some pepper balls.          And then actually
      2    -- I'll back up a little bit.
      3                One of my colleagues actually Maced somebody
      4    that was involved in a resisting or some disturbance
      5    right off of Grand and Arsenal.
      6          Q.    When you say your "colleagues," does that

      7    mean a person on the Bike Unit?

      8          A.    No.     Back then I was in our anticrime
      9    division.
     10          Q.    Which is your detective unit?

     11          A.    One of many detective units.
     12          Q.    Okay.    Do the detective units have different

     13    specialties?

     14          A.    Yes.
     15          Q.    Is the anticrime unit what is sounds like?

     16          A.    The anticrime unit is a unit that primarily
     17    focuses on vehicle and auto-related crime.           So
     18    carjackings, people who used a car to rob a bank or
     19    any number of -- that unit was designed specifically
     20    to safely address -- to eliminate pursuit situations
     21    essentially as an undercover unit.
     22          Q.    So you saw one of your colleagues of the

     23    anticrime unit Mace someone near that intersection?

     24          A.    Correct.
     25          Q.    For resisting arrest; is that right?



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      1           A.   If I recall correctly, there was an officer
      2    that had become encircled by a large amount of
      3    protesters, and chemical spray was used to safely get
      4    that officer out.
      5           Q.   Okay.    So that officer to your knowledge

      6    didn't actually arrest anyone; they used the Mace in

      7    order to leave the situation?

      8           A.   Correct.    It was completely chaotic, and we
      9    were essentially being attacked.
     10           Q.   You were there at the same time?

     11           A.   Yes.
     12           Q.   Were you also encircled by protesters?

     13           A.   I was not.
     14           Q.   Okay.    Was this, if you recall, east side of

     15    Grand or west side of Grand?

     16           A.   I believe it was the east side.
     17           Q.   Could it have been near the Qdoba parking

     18    lot?

     19           A.   It was in the middle of Arsenal or somewhere
     20    close to Arsenal.      It was a long time ago.
     21           Q.   Okay.    Have you seen officers deploy

     22    chemical agents at any of the other protests you've

     23    worked in the city of St. Louis?

     24           A.   In the city of St. Louis, no.
     25           Q.   Did you work at the Women's March?



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      1          A.    Which one?
      2          Q.    Did you work at the Women's March in 2017?

      3          A.    What month was it; do you recall?
      4          Q.    January 21st.

      5          A.    I've worked several Women's Marches, but I
      6    can't recall if I worked that one in particular.
      7          Q.    But you've worked several Women's Marches?

      8          A.    Yes.
      9          Q.    Did you deploy any chemical agents at any of

     10    the Women's Marches?

     11          A.    No.
     12          Q.    Were people blocking streets during the

     13    Women's March?

     14          A.    Yes.   The ones I was involved with, yes.
     15          Q.    Was that legal or illegal?

     16          A.    Illegal.
     17          Q.    You didn't arrest anybody though?

     18          A.    Correct.
     19          Q.    Why not?

     20          A.    Because the march was peaceful.
     21          Q.    Uh-huh.

     22          A.    And it would have been logistically
     23    impossible to arrest thousands and thousands of women,
     24    participants.
     25          Q.    So it was too big to arrest anyone?



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      1            A.   That would be one of the factors.
      2            Q.   Did you work at a march on Broadway on

      3    September 29th of 2017?       So after the Stockley

      4    verdict, a couple weeks after the initial protests

      5    we've been discussing?

      6            A.   I recall working a protest that came close
      7    to Broadway if I recall correctly, but I don't
      8    remember what date.
      9            Q.   Okay.   How about an action on or near a

     10    highway overpass on October 3rd?

     11            A.   What do you mean "an action"?
     12          Q.     A group of protesters who were at or near

     13    the highway overpass?

     14            A.   Yes.
     15          Q.     You did work that?

     16            A.   I believe so, yeah.
     17          Q.     Okay.   I should clarify.      I think that this

     18    was Highway 70 near the MLK Bridge.          Does that ring a

     19    bell?

     20            A.   During the day?
     21          Q.     I believe it was during the day.

     22            A.   Yes.    I believe so, yes.
     23          Q.     Okay.   So to summarize, you did work during

     24    a protest at or near Highway 70 near the MLK Bridge

     25    during the day on October 3rd?



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      1          A.    Yes.
      2          Q.    Okay.    Did you deploy any chemical agents

      3    there?

      4          A.    No.
      5          Q.    Did you arrest anyone?

      6          A.    No.
      7          Q.    Did you see any other officers deploy

      8    chemical agents?

      9          A.    No.
     10          Q.    Did you see any other officers arrest

     11    anyone?

     12          A.    No.
     13          Q.    Are you familiar with something called

     14    Special Order 1-06 Recording Police Activity?

     15          A.    I am familiar, vaguely familiar with the
     16    order.
     17          Q.    Have you received any training on that

     18    order?

     19          A.    Not that I can recall.
     20          Q.    How did you become familiar with the order,

     21    and how do you know it exists?

     22          A.    Because I recently took the sergeants and
     23    lieutenants examination, and one of the -- we have to
     24    study special orders and -- but more specifically
     25    certain special orders, so that's why I'm familiar



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      1    that we have that policy.        That's why I'm aware we
      2    have that policy.
      3          Q.    Recognizing that you don't remember every

      4    word, do you recall what the policy says generally?

      5                MS. DUNCAN:     I'll object that the policy

      6    speaks for itself.      Subject to that, you can answer.

      7          A.    So the special order involves recording of
      8    police activity by citizens or us recording our own
      9    activity?
     10          Q.     (By Ms. Steffan) It is -- you're asking me?

     11          A.    Yes.
     12          Q.    I will represent that I believe that it

     13    refers to people recording -- civilians recording

     14    police activity.

     15          A.    Okay.
     16          Q.    Does that help you recollect what it says?

     17          A.    A little bit, yes.
     18          Q.    What is your understanding of what it says?

     19          A.    My understanding is that we are not to
     20    interfere with people who are recording our activity.
     21    We as in the police.
     22          Q.    Have you ever seen an officer violate that

     23    policy?

     24          A.    No.
     25          Q.    Is it your understanding that you may use a



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      1    chemical agent against a person recording police

      2    activity?

      3          A.     I guess it depends if they're doing
      4    something else as well.
      5          Q.     Is it your understanding that you can deploy

      6    a chemical agent against a person just for recording

      7    police activity?

      8          A.     No.    That's not my understanding.
      9          Q.     Have you ever seen an officer deploy a

     10    chemical agent against someone just for recording

     11    police activity?

     12          A.     No.
     13          Q.    What is your understanding of when you can

     14    command a person who's recording police activity to

     15    stop doing so?

     16          A.     I don't believe that we can issue a command
     17    to somebody who is recording police activity to stop
     18    doing so.
     19          Q.    I may have asked you this already, but have

     20    you ever used a chemical agent outside the context of

     21    a protest?

     22          A.     Yes.
     23          Q.    Did you use handheld Mace?

     24          A.     Yes.
     25          Q.    Have you done this on one occasion or more



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      1    than one occasion?

      2          A.    More than one occasion.
      3          Q.    Were those for the same -- those uses for

      4    the same purpose or for different purposes?            How many

      5    times have you deployed the handheld Mace?

      6          A.    Less than five outside of protest-related
      7    activities.
      8          Q.    Recognizing that you did so in different

      9    circumstances, is there a general -- was there a

     10    general motivation or justification for doing so

     11    across all of those uses?

     12          A.    It's been so long since I've used -- I
     13    haven't used Mace since -- outside of the context of a
     14    protest, I haven't used it in probably 10 years.             So
     15    it's been a very long time.
     16          Q.    Do you recall if you did an I-leads report

     17    for those uses --

     18          A.    I would have, yes.
     19          Q.    -- on those occasions?       Is it your

     20    understanding that you have to do an I-leads report

     21    for use of a chemical agent?

     22          A.    Yes.
     23          Q.    Do you have an understanding of when you can

     24    order a person to leave a sidewalk?

     25          A.    When I can order a person to leave a



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      1    sidewalk?
      2          Q.    Uh-huh.

      3          A.    I would -- I could imagine a variety of
      4    situations where it would be lawful for me to ask
      5    somebody to leave a sidewalk.
      6          Q.    Do you agree that people in St. Louis have a

      7    First Amendment right to protest?

      8          A.    Yes.
      9          Q.    Does that include the right to protest the

     10    actions of police officers?

     11          A.    Absolutely.
     12          Q.    Do they have a right to protest if they are

     13    using foul language?

     14          A.    Yes.
     15          Q.    How about obscene gestures?

     16          A.    Yes.
     17          Q.    How about if they're yelling at officers?

     18          A.    Sure.
     19          Q.    Does that right include the right to protest

     20    on streets?

     21                MS. DUNCAN:     Object to the legal conclusion.

     22    Subject to that, you can answer.

     23          A.    It's my understanding that the ordinances of
     24    the city of St. Louis and the statutes of the state of
     25    Missouri precludes folks from impeding the flow of



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      1    traffic.
      2           Q.     (By Ms. Steffan) So yes or no?

      3           A.   In any context, whether protesters or
      4    somebody selling drugs.
      5           Q.   Okay.    So does that mean that it is your

      6    understanding that people in St. Louis do not have a

      7    First Amendment right to protest on streets?

      8           A.   Yes.
      9           Q.   Yes, they do?

     10           A.   They -- it's my understanding that they do
     11    not.
     12           Q.   Okay.    How about the right to protest on a

     13    sidewalk; do people in St. Louis have the right to

     14    protest on a sidewalk?

     15                MS. DUNCAN:     Same objection to the legal

     16    conclusion.     Subject to that, you can answer.

     17           A.   Again, it depends on a variety -- several
     18    different variables.
     19           Q.    (By Ms. Steffan) What variables are those?

     20           A.   If folks are -- if the protesters or people
     21    protesting are blocking other -- not involved folks
     22    from being able to travel via said sidewalk.            That
     23    would constitute a violation.
     24           Q.   A violation of what?

     25           A.   City ordinance.



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      1          Q.    How can you tell if people are blocking

      2    pedestrian traffic?

      3                MS. DUNCAN:     I'll object as to context and

      4    that it's vague.      Subject to that, you can answer.

      5          A.    It's common sense really.        If there's a
      6    group of individuals blocking the sidewalk or standing
      7    stationary and not allowing other folks to pass
      8    through, that would be blocking a sidewalk.
      9          Q.     (By Ms. Steffan) If there's a group of

     10    people standing stationary on the sidewalk but nobody

     11    actively trying to get by, are they blocking

     12    pedestrian traffic in that circumstance?

     13                MS. DUNCAN:     I'll object as to speculation.

     14    Subject to that, you can answer.

     15          A.    I guess it depends on several things.
     16          Q.     (By Ms. Steffan) Like what?

     17          A.    Like if somebody tries to get by and what
     18    the crowd's reaction is or if there's simply not any
     19    space for somebody to get by.
     20          Q.    Let's presume that there is nobody trying to

     21    get by.    The only people there are people who are part

     22    of the group protesting on the sidewalk.           Do they have

     23    a right to do that?

     24                MS. DUNCAN:     Again, object as speculation.

     25    Subject to that, you can answer.



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      1          A.    I don't know how to answer that.
      2          Q.     (By Ms. Steffan) What is your

      3    understanding?

      4                MS. DUNCAN:     Objection.     Vague.

      5    Understanding as to what?

      6          Q.     (By Ms. Steffan) Do you not understand the

      7    question?

      8          A.    I understand, but I guess I don't know how
      9    to answer it.
     10          Q.    Okay.    If you encounter -- you're a police

     11    officer in charge of enforcing the law; is that

     12    correct?

     13          A.    Yes.
     14          Q.    If you encounter a group of people, let's

     15    say 30 people, standing stationary on a sidewalk,

     16    nobody trying to get by, are those group of people

     17    violating city ordinance or not?

     18          A.    I don't know.
     19          Q.    What would it depend on?

     20          A.    It depends on I guess how the ordinance
     21    reads.
     22          Q.    Okay.    You don't know how the ordinance

     23    reads?

     24          A.    Correct.
     25          Q.    Okay.    Can a person be guilty of obstructing



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      1    traffic, vehicular traffic, if the street is blocked?

      2                MS. DUNCAN:     Objection.     Speculation.

      3          Q.     (By Ms. Steffan) If the street is closed?

      4          A.    I don't -- I don't know how a judge would
      5    rule on that matter.
      6          Q.    Could you arrest a person for obstructing

      7    traffic if the street is closed that they are on?

      8          A.    If they're blocking the street, I would
      9    imagine that we can.
     10          Q.    Did you ever hear any officers say, "Whose

     11    streets, our streets," while you were on duty the

     12    weekend of September 15th, 2017?

     13          A.    No.
     14          Q.    Did you participate in an after-action

     15    review following that weekend?

     16          A.    Yes.
     17          Q.    When was that?

     18          A.    I don't remember specifically.
     19          Q.    Was it immediately after it or sometime

     20    later?

     21          A.    Sometime.
     22          Q.    Okay.    Days later?

     23          A.    Months later.
     24          Q.    Okay.    Where was that?

     25          A.    At police headquarters.



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      1          Q.    Who was there?

      2          A.    A lot of people.
      3          Q.    Okay.    All the officers who patrolled or

      4    most?

      5          A.    Most, if not all, the members of BRT.
      6          Q.    Besides BRT, were there other units present?

      7          A.    Other police units?       I don't know.     There
      8    may have been a couple other sergeants just to kind of
      9    sit in from the chief's office.
     10          Q.    Were there other command staff present?

     11          A.    Not that I can recall.
     12          Q.    Who was the highest-ranking person there?

     13          A.    Lieutenant Boyher.      Lieutenant Boyher.
     14          Q.    How long did that meeting last?

     15          A.    I think it lasted for a day.         Maybe it might
     16    have went into two different days.
     17          Q.    Was it broken up into separate events, or

     18    was it one big event the whole time?

     19          A.    It was one event the whole time.
     20          Q.    Who spoke?

     21          A.    I did a little bit of speaking.         Actually I
     22    think I did most of the speaking.
     23          Q.    How long did you speak for?

     24          A.    I don't know.
     25          Q.    Hours?    I mean a long time, or was it a



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      1    short speech that you gave?

      2          A.    I never gave a speech.       I wouldn't say a
      3    speech but more of a presentation.          So I don't know.
      4    I spoke over -- multiple times over the course of two
      5    days.
      6          Q.    Okay.    What was the purpose of that meeting?

      7          A.    It had several purposes, one of which was
      8    essentially a critical-incident review.           A lot of --
      9    there was a lot of officers experiencing trauma during
     10    these times.     So it was to address that.
     11                Also reviewed a lot of the video available
     12    to us and that I took to see if we could identify
     13    offenders that had assaulted police officers.
     14                And then also to determine, again, if we
     15    could do anything better next time or if we did
     16    anything wrong from the auspices of the Bicycle Unit
     17    if I'm saying that correctly.
     18          Q.    When you say it was a "critical-incident

     19    review," what does that term mean?

     20          A.    So we reviewed the incident again to see if
     21    --
     22          Q.    Okay.    So when you just said you were trying

     23    to see if you could do anything better next time, that

     24    is a critical-incident review?

     25          A.    I think so, yeah.



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      1          Q.     Okay.    Do you conduct critical-incident

      2    reviews regularly about other things?

      3          A.     When I was in anticrime we did.
      4          Q.     Okay.    Was this the first critical-incident

      5    review that you participated in as a member of the

      6    Bike Unit?

      7          A.     Yes.
      8          Q.     You said you reviewed video that was

      9    available to you?

     10          A.     Correct.
     11          Q.    How much video would you say, hours or less

     12    than that?

     13          A.     Hours.
     14          Q.    And was that video taken at multiple

     15    locations?

     16          A.     Yes.
     17          Q.    Was it all video that you had taken, or were

     18    there other sources?

     19          A.     There were other sources too if I recall
     20    correctly.
     21          Q.    Did other officers also speak or respond to

     22    questions, participate in that meeting in some way?

     23          A.     It was an open meeting essentially, so
     24    anybody could speak or talk.
     25          Q.    And did other officers avail themselves of



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      1    the opportunity to?

      2          A.    Yes.
      3          Q.    Did you come to the conclusion that you

      4    could have done anything better?

      5          A.    Not necessarily, no.
      6          Q.    I think you already said that meeting was

      7    some months after these events, right?

      8          A.    Yes.
      9          Q.    Was it before or after the court issued its

     10    order in this case?

     11          A.    I can't remember.
     12          Q.    Did you go over that order at the meeting;

     13    do you recall?

     14          A.    No.
     15          Q.    No, you don't recall, or you didn't go over

     16    it?

     17          A.    I don't believe we went over the order.
     18          Q.    Okay.    You described what you did as a sort

     19    of presentation; is that right?

     20          A.    I think that's -- yep.
     21          Q.    Did you have any notes that you referred to?

     22          A.    No.
     23          Q.    Had the incident report been done by that

     24    point?

     25          A.    Which one?



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      1          Q.    The I-leads report to which you contributed

      2    your uses of chemical agents, was that done at that

      3    point?

      4          A.    I believe so.
      5          Q.    Did you review that at that meeting?

      6          A.    No.
      7          Q.    Did you review any audio other than -- the

      8    video that you saw, did you review any tactical

      9    communications?

     10          A.    I don't think -- we may have listened to
     11    some radio transmissions, but I don't recall if we did
     12    or not.
     13          Q.    Okay.    You said most members of BRT were

     14    there, right?

     15          A.    Yes.
     16          Q.    And Lieutenant Boyher was there, right?

     17          A.    If I recall correctly, Lieutenant Boyher was
     18    there for at least part of it.
     19          Q.    Did he also give some kind of presentation?

     20          A.    I don't remember.
     21          Q.    Do you recall if he spoke?

     22          A.    I don't remember.
     23          Q.    Who decided to have that after-action

     24    review?

     25          A.    I think it was a consensus amongst several



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      1    different people.
      2          Q.    In BRT?

      3          A.    BRT and then -- in BRT and perhaps another
      4    commander, but I don't recall specifically who.
      5          Q.    Did the chief come to that meeting?

      6          A.    He may have made an appearance, but I can't
      7    recall.
      8          Q.    Who was the chief at that point?

      9          A.    At that point it was either John Hayden or
     10    it might have been Chief Hayden.         I think it was
     11    shortly after he was --
     12          Q.    Okay.

     13          A.    -- promoted to the rank of chief.          Yeah, I
     14    remember him being there actually.          He didn't say
     15    much.
     16          Q.    He was there in his capacity as chief?

     17          A.    Yes.
     18          Q.    So if we know that he became chief in

     19    December of 2017, then this would have been in

     20    December or after; is that right?

     21          A.    After, right.
     22          Q.    Okay.    Have you sent any e-mails about the

     23    protests or the police response to the protests?

     24          A.    Yes.
     25          Q.    What e-mails have you sent?



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      1          A.    Mainly e-mails back and forth with our legal
      2    division.
      3          Q.    I don't want to ask about your

      4    communications with your legal division.           Other than

      5    to and with legal division, have you sent any e-mails

      6    about the protests or the police response to the

      7    protests?

      8          A.    Nothing regarding the police response, but I
      9    did send a departmentwide message asking people to
     10    come to the incident review we just spoke about.
     11          Q.    Did people outside of BRT take you up on

     12    that invitation?

     13          A.    Again, there was -- there might have been a
     14    representative from a lieutenant, colonel or two that
     15    sat in for part of it, but other than that, I can't
     16    recall specifically.
     17          Q.    And when you say a departmentwide message,

     18    that's an e-mail?

     19          A.    Correct.
     20          Q.    Okay.    How about text messages, did you send

     21    text messages about the protests or the police

     22    response to the protests?

     23          A.    No.
     24          Q.    Did you post anything on social media?

     25          A.    No.



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      1          Q.    Have you had any training on the history of

      2    protests in St. Louis?

      3          A.    No.
      4          Q.    How about civil disobedience, have you had

      5    any training on what that is?

      6          A.    What it is or --
      7          Q.    What it is.

      8          A.    No.
      9          Q.    Okay.    You have had training on how to

     10    respond to it?

     11          A.    Correct.
     12          Q.    How do you identify whether a situation is a

     13    civil disobedience situation or not?

     14          A.    I don't necessarily think that we've had
     15    specific training to indicate one way or another.
     16          Q.    You have had training on the First

     17    Amendment; is that correct?

     18          A.    In the police academy.
     19          Q.    After you graduated from the police academy,

     20    have you had any training on the First Amendment?

     21          A.    Not that I can recall specifically.
     22          Q.    Do you know, is there a way to get a permit

     23    to have a street protest in St. Louis?

     24          A.    I'm not sure.
     25          Q.    Do you know a term called "the



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      1    Policy-Acknowledgment System"?

      2          A.    Yes.
      3          Q.    What is that?

      4          A.    It's a system -- it's a piece of software
      5    the Metropolitan Police Department uses to ensure
      6    compliance with certain special orders.           To ensure
      7    knowledge of certain special orders.
      8          Q.    Fair enough.     Have you received any policies

      9    or special orders through the Policy-Acknowledgment

     10    System?

     11          A.    Yes.
     12          Q.    What ones?

     13          A.    Every month we have -- there's a use of
     14    force, a CIT, Charles Item Tom, pursue policy and
     15    sexual-harassment policies are tested on a monthly
     16    basis.
     17          Q.    So every month those are sent to you; you

     18    have to acknowledge that you received them?

     19          A.    Yeah.    We -- for most of those, a test is
     20    actually required in order to ensure that a particular
     21    person has acknowledged the order.
     22          Q.    What is CIT?

     23          A.    Crisis Intervention Team.
     24          Q.    That goes to everybody?

     25          A.    Yes.



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      1          Q.    Is everyone on the Crisis Intervention Team?

      2          A.    Most of the department is trained in Crisis
      3    Intervention Team training.        The goal of the
      4    department is to have every frontline police officer
      5    and supervisor trained, but not everybody is yet.
      6          Q.    Are you familiar with something called the

      7    "Templeton Settlement" or a lawsuit brought by a

      8    person named Alexis Templeton?

      9          A.    I've heard that term used by my counsel.
     10          Q.    Okay.    Did you ever receive anything related

     11    to the Templeton lawsuit through the

     12    policy-acknowledgment system?

     13          A.    I don't recall.
     14          Q.    Considering everything you know about the

     15    police response to the Stockley protests, would you do

     16    anything differently if it happened today?

     17          A.    I don't think so.
     18          Q.    Considering the court's order in this case,

     19    would you do anything differently today if the same

     20    events happened?

     21                MS. DUNCAN:     Again, I'll object.      The

     22    court's order speaks for itself.

     23          A.    No.
     24          Q.     (By Ms. Steffan) Okay.

     25                MS. STEFFAN:     I think that's all I have.



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      1                MS. DUNCAN:     Okay.

      2                MS. STEFFAN:     If I could have just one

      3    minute to read through my notes and make sure.

      4                MS. DUNCAN:     Sure.

      5                MS. STEFFAN:     I'm finished.

      6                            [EXAMINATION]

      7          BY MS. DUNCAN:

      8          Q.    Sergeant, you talked about or you were

      9    questioned about the use of foggers, and you said that

     10    you had not seen any of those dispersed on

     11    September 15th through 17th; is that correct?

     12          A.    Correct.
     13          Q.    Okay.    And what is your understanding of

     14    what a fogger is?

     15          A.    A fogger is a device to spray OC spray in a
     16    wide pattern.
     17          Q.    Okay.    Is there something that sprays OC

     18    spray in a more direct pattern?

     19          A.    Yes.
     20          Q.    And what are those called?

     21          A.    Streamers.
     22          Q.    Okay.    Did you see streamers used?

     23          A.    Yes.
     24          Q.    Okay.    And just to be clear, you saw

     25    streamers used from the time of September 15th to



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      1    17th?

      2          A.    Yes.
      3          Q.    Okay.    You said that at one point on

      4    September the 17th in the evening, you declared an

      5    unlawful assembly and told people to leave the area --

      6          A.    Yes.
      7          Q.    -- correct?     And I believe you testified

      8    that some people did leave the area?

      9          A.    Yes.
     10          Q.    Okay.    So was it your understanding that at

     11    least for those people, they understood what you meant

     12    by "leave the area"?

     13          A.    Yes.
     14          Q.    Okay.    You said that when there was an

     15    unlawful assembly, that people started cussing at you?

     16          A.    Yes.
     17          Q.    What was being said.       And you're going to

     18    get graphic here, but that's okay.

     19          A.    A variety of very colorful terms.          "Fuck the
     20    police."    There were some mention about violating --
     21    sexually violating family members of mine.           I can keep
     22    going and going but...
     23          Q.    Were they threatening?

     24          A.    Yes.
     25          Q.    Was it aggressive?



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      1          A.     Yes.
      2          Q.     You mentioned the arrest maneuver called

      3    encirclement.       Would you call it an encirclement

      4    tactic?

      5          A.     Sure.
      6          Q.     Were there any -- was there any illegal

      7    contraband or weapons recovered after those arrests?

      8          A.     Yes.    After most people were arrested, it
      9    was my understanding six firearms were recovered
     10    either on the ground, by themselves or from persons at
     11    Tucker and Market.
     12          Q.    And that was from the people that were

     13    encircled?

     14          A.     At least some were, and some were just on
     15    the ground.     So I wouldn't be able to say for sure
     16    that they came from the folks that were in there, but
     17    we could certainly assume that they were.
     18          Q.    Okay.    Prior to September 17th, 2017, had

     19    you ever participated in a prior encirclement tactic?

     20          A.     No.
     21          Q.    To your knowledge, had the department --

     22    prior to September 17th of 2017, to your knowledge,

     23    had the department participated in an encirclement

     24    tactic before?

     25          A.     No.



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      1                 MS. DUNCAN:    I think that's all the

      2    questions I have.

      3                 MS. STEFFAN:    I have a few follow-ups on

      4    that.

      5                            [EXAMINATION]

      6            BY MS. STEFFAN:

      7            Q.   Is there a difference between what you've

      8    just called a "streamer" and what we previously called

      9    the "handheld Mace"?

     10            A.   So a streamer is I guess roughly the size of
     11    this one-liter bottle, and it allows an officer to
     12    have additional capacity of pepper spray.           But the
     13    output of that device is in a stream.          So it's
     14    designed to address an individual and not a wide
     15    pattern like a fogger would.
     16          Q.     Are a streamer and a fogger roughly the same

     17    size?

     18            A.   I don't know that I've seen a fogger before,
     19    but I would think so.       It's my understanding the
     20    department doesn't use foggers.
     21          Q.     Okay.   If Sergeant Rossomanno testified that

     22    he used a fogger, would that surprise you?

     23            A.   I don't know.
     24          Q.     Okay.   When you were testifying earlier

     25    about using your handheld Mace, that wasn't a



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      1    streamer?

      2          A.    During -- when we were talking about the bus
      3    incident specifically, I used my handheld Mace.             I did
      4    on several occasions use a streamer as well.
      5          Q.    Okay.    Are you issued a personal streamer?

      6          A.    No.
      7          Q.    That's shared equipment?

      8          A.    Correct.
      9          Q.    Okay.    How did you get your streamer that

     10    you then used?

     11          A.    I was given one at the bike office.
     12          Q.    Okay.    Who gave that to you?

     13          A.    Lieutenant Boyher.
     14          Q.    Did you have to like sign it out or

     15    something like that?

     16          A.    I can't remember if I did or not.
     17          Q.    Is that the same substance in a streamer as

     18    is in the handheld Mace?

     19          A.    It's my understanding that it is.
     20          Q.    We talked about several instances in which

     21    you had used your handheld Mace during these protests.

     22    When did you use the streamer?

     23          A.    There's one instant -- let's see here.           In
     24    front of police headquarters when we were clearing out
     25    the folks that were damaging police cars.           And then I



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      1    also used it once during the mass-arrest maneuver at
      2    Tucker and Market.
      3          Q.    Okay.    The first occasion that you've just

      4    mentioned, was that on the afternoon of the 15th?

      5          A.    Yes.    It was after morning.
      6          Q.    Okay.    And who did you direct it toward?

      7          A.    Folks who were either about to assault
      8    police officers or who weren't complying with orders
      9    to remove themselves from the street.
     10          Q.    And did you arrest those people?

     11          A.    No.
     12          Q.    How many times did you deploy it?

     13          A.    At what time?
     14          Q.    The streamer when you were talking about

     15    doing it the afternoon of the 15th?

     16          A.    Two or three times.
     17          Q.    Okay.    Did you provide any medical aid to

     18    those people?

     19          A.    I wasn't able to.
     20          Q.    Is that no, you did not?

     21          A.    Correct.
     22          Q.    Okay.    Was it successful?

     23          A.    Yes.
     24          Q.    And you were trying to get the people to do

     25    what, move away?



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      1          A.    I was trying to get the people to either not
      2    assault my police officers or to comply with our
      3    orders.
      4          Q.    Okay.    Had an unlawful assembly been

      5    declared when you used the streamers?

      6          A.    I don't think so, not at that point.
      7          Q.    Did you warn the people that you would be

      8    using the streamers against them?

      9          A.    It depends on which -- which time I used it.
     10          Q.    Okay.    I'm talking about the afternoon of

     11    September 15th.      You did sometime when -- one of the

     12    times you deployed the streamer during that period or

     13    none of the times?

     14          A.    I can't remember specifically.         I may not
     15    have warned anybody that time that I was going to
     16    deploy it because they were -- as I said, there were
     17    two folks that were getting ready to assault my police
     18    officer or who were actively pushing on bikes.
     19          Q.    Is it your understanding that you were

     20    required to warn them?

     21          A.    No.
     22          Q.    If you had deployed tear gas in that

     23    situation, would you have been required to warn them?

     24          A.    I would not have deployed tear gas.          So I
     25    don't know.



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      1          Q.    Okay.

      2          A.    And we weren't using -- I wasn't using the
      3    pepper spray in that instance to disperse the crowd.
      4    I was using it on individuals that were -- I was
      5    addressing individuals.
      6          Q.    Uh-huh.    So is it your understanding that if

      7    you were using pepper spray either handheld or a

      8    streamer against an individual, that you do not need

      9    to warn them?

     10          A.    It's my understanding, yes.
     11          Q.    That you do not need to warn them?

     12          A.    Correct.
     13          Q.    Okay.    You were asked about the people who

     14    complied with your order to leave the area near 9th

     15    and Olive; is that correct?

     16          A.    Yes.
     17          Q.    How far did those people go?

     18          A.    I don't know.     They left, and I didn't see
     19    them again.
     20          Q.    So do you know if they left the area?

     21          A.    I didn't see them again.
     22          Q.    So you do not know if they complied with

     23    your command?

     24          A.    They complied with -- they left -- they left
     25    my line of sight, and I didn't see them again.



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      1           Q.   Okay.    You were also asked whether you found

      2    any contraband or weapons after the encirclement; is

      3    that correct?

      4           A.   Yes.
      5           Q.   And you said you did find six firearms, I

      6    believe?

      7           A.   I didn't find six firearms, but I know I saw
      8    one on the ground, and it came to my attention later
      9    that there were a total of six handguns recovered.
     10           Q.   Is it unlawful to carry a handgun?

     11           A.   I can't remember when the laws changed, but
     12    generally right now, no.        Well, it depends on who's
     13    carrying it of course.
     14           Q.   Of course.     Was it unlawful for everyone to

     15    carry a handgun at the time that encirclement

     16    occurred?

     17           A.   No.
     18                MS. DUNCAN:     Objection.     Speculation.

     19    Subject to that, you can answer.

     20           A.   No.
     21           Q.    (By Ms. Steffan) So do you know if the

     22    firearms that you recovered were illegal firearms or

     23    not?

     24           A.   Well, I guess -- there's multiple ways a
     25    firearm can be illegal, but I don't know.



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      1          Q.    Okay.

      2                MS. STEFFAN:     That's all my follow-up.

      3                MS. DUNCAN:     Okay.   I have nothing further.

      4    So, Officer, you can either waive your signature or

      5    read it.    Reading it would entail going through the

      6    transcript, and then you'd be able to proof it for

      7    typos and substance, or you can waive signature.             I

      8    would suggest or I'd advise that you read it.

      9                THE WITNESS:     I would like to read.

     10                MS. DUNCAN:     Thank you.

     11                MS. STEFFAN:     PDF for me.     That's it.

     12    That's all I need.

     13                MS. DUNCAN:     I'll do an e-tran.

     14                      (Whereupon signature was reserved, and

     15                      the deponent was excused.)

     16                      (The exhibit was retained by

     17                      the reporter.)

     18

     19

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      1              COMES NOW THE WITNESS, MATTHEW KARNOWSKI,
           and having read the foregoing transcript of the
      2    deposition taken on the 17th day of DECEMBER, 2018
           acknowledges by signature hereto that it is a true and
      3    accurate transcript of the testimony given on the date
           hereinabove mentioned.
      4

      5                ____________________________
                       [MATTHEW KARNOWSKI]
      6

      7              Subscribed to before me this _________ day
           of _________________________, 2019.
      8

      9

     10                ____________________________
                       [Notary Public]
     11

     12

     13    My commission expires:       ______________________.

     14

     15

     16

     17    (MATTHEW KARNOWSKI Deposition)
           MALEEHA AHMAD, ET AL. vs. CITY OF ST. LOUIS, MISSOURI
     18    Reporter: Stacey L. Preusser, MO-CCR, IL-CSR
           Date Taken: DECEMBER 17, 2018.
     19

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      1                        REPORTER CERTIFICATE

      2

      3

      4
                     I, Stacey L. Preusser, MO-CCR, IL-CSR, do
      5    hereby certify that there came before me at City of
           St. Louis, City Hall, 1200 Market Street, St. Louis,
      6    Missouri,

      7

      8                          MATTHEW KARNOWSKI,

      9    who was by me first duly sworn; that the witness was
           carefully examined, that said examination was reported
     10    by myself, translated and proofread using
           computer-aided transcription, and the above transcript
     11    of proceedings is a true and accurate transcript of my
           notes as taken at the time of the examination of this
     12    witness.

     13              I further certify that I am neither attorney
           nor counsel for nor related nor employed by any of the
     14    parties to the action in which this examination is
           taken; further, that I am not a relative or employee
     15    of any attorney or counsel employed by the parties
           hereto or financially interested in this action.
     16
                       Dated this 24th day of DECEMBER, 2018.
     17

     18

     19                _________________________________________
                       STACEY L. PREUSSER, MO-CCR, IL-CSR
     20

     21

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